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     Fill in this information to identify your case:


     United States Bankruptcy Court for the :

     _____NORTHERN_____ District of _ INDIANA__
                                              (State)


     Case Number (If known): __________________________ Chapter you are filing under:
                                                                          Chapter 7
                                                                          Chapter 11
                                                                          Chapter 12                                                        Check if this is an
                                                                          Chapter 13                                                        amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                            06/24

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

  Part 1:       Identify Yourself


                                             About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

1.      Your full name
                                             Crystal
                                             ______________________________________________                    ______________________________________________
                                             First name                                                        First name
        Write the name that is on your
        government-issued picture            Renee
                                             ______________________________________________                    ______________________________________________
        identification (for example,         Middle name                                                       Middle name
        your driver’s license or
        passport).                           Wright
                                             ______________________________________________                    ______________________________________________
                                             Last name                                                         Last name
        Bring your picture
                                             ______________________                                            ______________________
        identification to your meeting
                                             Suffix (Sr., Jr., II, III)                                        Suffix (Sr., Jr., II, III)
        with the trustee.

2.      All other names you                   Crystal
                                             ______________________________________________                    ______________________________________________
        have used in the last 8              First name                                                        First name
        years                                Renee
                                             ______________________________________________                    ______________________________________________
                                             Middle name                                                       Middle name
        Include your married or
        maiden names and any                 Horne
                                             ______________________________________________                    ______________________________________________
        assumed, trade names and             Last name                                                         Last name
        doing business as names.

        Do NOT list the name of any          ______________________________________________                    ______________________________________________
                                             First name                                                        First name
        separate legal entity such as
        a corporation, partnership, or       ______________________________________________                    ______________________________________________
        LLC that is not filing this          Middle name                                                       Middle name
        petition.
                                             ______________________________________________                    ______________________________________________
                                             Last name                                                         Last name

                                             ______________________________________________                    ______________________________________________
                                             Business Name (if applicable)                                     Business Name (if applicable)

                                             ______________________________________________                    ______________________________________________
                                             Business Name (if applicable)                                     Business Name (if applicable)


3.      Only the last 4 digits of
        your Social Security
                                                         3140
                                             XXX - XX - ________________                                       XXX - XX - ________________
        number or federal                    OR                                                                OR
        Individual Taxpayer
        Identification number
                                             9XX - XX - ____ ____ ____ ____                                    9XX - XX - ____ ____ ____ ____
        (ITIN)

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Debtor 1   Crystal                   Renee                     Wright
           __________________________________________________________________                            Case Number (if known) ______________________________
           First Name                 Middle Name                   Last Name



                                        About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


4.    Your Employer                     ___ ___ - ___ ___ ___ ___ ___ ___ ___                              ___ ___ - ___ ___ ___ ___ ___ ___ ___
      Identification Numbers            EIN                                                                EIN
      (EIN), if any.
                                        ___ ___ - ___ ___ ___ ___ ___ ___ ___                              ___ ___ - ___ ___ ___ ___ ___ ___ ___
                                        EIN                                                                EIN




5.    Where you live                                                                                       If Debtor 2 lives at a different address:


                                        2933 Colonial Dr
                                        ______________________________________________                     ______________________________________________
                                        Number    Street                                                   Number    Street

                                        ______________________________________________                     ______________________________________________


                                        Mishawaka                      IN      46544
                                        ______________________________________________                     ______________________________________________
                                        City                           State     ZIP Code                  City                           State     ZIP Code

                                        ST. JOSEPH
                                        ______________________________________________                     ______________________________________________
                                        County                                                             County



                                        If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send              the one above, fill it in here. Note that the court
                                        any notices to you at this mailing address.                        will send any notices this mailing address.


                                        ______________________________________________                     ______________________________________________
                                        Number    Street                                                   Number    Street

                                        ______________________________________________                     ______________________________________________
                                        P.O. Box                                                           P.O. Box

                                        ______________________________________________                     ______________________________________________
                                        City                           State     ZIP Code                  City                           State     ZIP Code




6.    Why you are choosing               Check one:                                                        Check one:
      this district to file for
      bankruptcy.                           Over the last 180 days before filing this petition,              Over the last 180 days before filing this petition,
                                            I have lived in this district longer than in any                 I have lived in this district longer than in any
                                            other district.                                                  other district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                            (See 28 U.S.C. § 1408                                            (See 28 U.S.C. § 1408


                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________

                                         ______________________________________________                    ______________________________________________




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Debtor 1    Crystal                   Renee                     Wright
            __________________________________________________________________                               Case Number (if known) ______________________________
            First Name                  Middle Name                    Last Name




  Part 2:       Tell the Court About Your Bankruptcy Case



7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals
      Bankruptcy Code you                  Filing for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file                      Chapter 7
      under
                                                Chapter 11

                                                Chapter 12

                                                Chapter 13


8.    How you will pay the fee                  I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                                I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                        No
      bankruptcy within the
      last 8 years?                             Yes.            None
                                                       District ___________________________ When _________________ Case Number ________________________
                                                                                                        MM / DD / YYYY


                                                                None
                                                       District ___________________________ When _________________ Case Number ________________________
                                                                                                        MM / DD / YYYY


                                                       District ___________________________ When _________________ Case Number ________________________
                                                                                                        MM / DD / YYYY




10.   Are any bankruptcy                        No
      cases pending or being
      filed by a spouse who is                  Yes.   Debtor __________________________________________________ Relationship to you _____________________
      not filing this case with                        District ___________________________ When _________________ Case Number, if known ________________
      you, or by a business                                                                             MM / DD / YYYY
      parter, or by
      affiliate?
                                                       Debtor __________________________________________________ Relationship to you _____________________
                                                       District ___________________________ When _________________ Case Number, if known ________________
                                                                                                        MM / DD / YYYY




11.   Do you rent your                          No.    Go to line 12
      residence?                                Yes.   Has your landlord obtained an eviction judgment against you?



                                                             No. Go to line 12.
                                                             Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                             this bankruptcy petition.




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Debtor 1   Crystal                   Renee                     Wright
           __________________________________________________________________                                   Case Number (if known) ______________________________
           First Name                     Middle Name                    Last Name




 Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                   No.    Go to Part 4.
      of any full- or part-time                   Yes.   Name and location of business
      business?
      A sole proprietorship is a                         _______________________________________________________________________________________
      business you operate as an                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnerhsip, or                     _______________________________________________________________________________________
      LLC.                                               Number      Street
      If you have more than one
      sole proprietorship, use a                         _______________________________________________________________________________________
      separate sheed and attach it
      to this petition.
                                                         _________________________________________________               ______      ________________________
                                                         City                                                                        State      Zip Code


                                                         Check the appropriate box to describe your business:

                                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                                None of the above


13.   Are you filing under                   If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                      can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
                                             most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      Bankruptcy Code and
                                             if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?                                     No. I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                        No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                           the Bankruptcy Code.

                                                  Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                  Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11




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Debtor 1   Crystal                   Renee                     Wright
           __________________________________________________________________                              Case Number (if known) ______________________________
           First Name                   Middle Name                  Last Name




 Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    No.
      property that poses or is
                                                Yes. What is the hazard?         _________________________________________________________________
      alleged to pose a threat
      of imminent and
      indentifiable hazard to                                                    _________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                      If immediate attention is needed, why is it needed? _________________________________________
      immediate attention?

      For example, do you own                                                    _________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                      Where is the property? _______________________________________________________________
                                                                                  Number       Street



                                                                                  _______________________________________________________________

                                                                                  ____________________________________ ______        _______________
                                                                                  City                                            State     ZIP Code




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Debtor 1   Crystal                   Renee                     Wright
           __________________________________________________________________                                  Case Number (if known) ______________________________
           First Name                    Middle Name                    Last Name




 Part 5:        Explain Your Efforts to Receive a Briefing About Credit Counseling


                                            About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a                   You must check one:                                                  You must check one:
      briefing about credit
      counseling.                               I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
      bankruptcy. You must                      Attach a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
      truthfully check one of the               plan, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
      following choices. If you
      cannot do so, you are not                 I received a briefing from an approved credit                      I received a briefing from an approved credit
      eligible to file.                         counseling agency within the 180 days before I                     counseling agency within the 180 days before I
                                                filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
      If you file anyway, the court             certificate of completion.                                         certificate of completion.
      can dismiss your case, you
      will lose whatever filing fee             Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
      you paid, and your creditors              you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
      can begin collection activities           plan, if any.                                                       plan, if any.
      again.
                                                I certify that I asked for credit counseling                       I certify that I asked for credit counseling
                                                services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.

                                                To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                required you to file this case.                                     required you to file this case.

                                                Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after      you file.        still receive a briefing within 30 days after      you file.
                                                You must file a certificate from the          approved              You must file a certificate from the          approved
                                                agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                                may be dismissed.                                                   may be dismissed.
                                                Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                                days.                                                               days.

                                                I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                   Incapacity.   I have a mental illness or a mental                  Incapacity.    I have a mental illness or a mental
                                                                   deficiency that makes me                                            deficiency that makes me
                                                                   incapable of realizing or making                                    incapable of realizing or making
                                                                   rational decisions about finances.                                  rational decisions about finances.

                                                   Disability.   My physical disability causes me                     Disability.    My physical disability causes me
                                                                  to be unable to participate in a                                    to be unable to participate in a
                                                                  briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                  through the internet, even after I                                  through the internet, even after I
                                                                  reasonably tried to do so.                                          reasonably tried to do so.

                                                   Active duty. I am currently on active military                     Active duty. I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.

                                                If you believe you are not required to receive a                    If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1   Crystal                   Renee                     Wright
           __________________________________________________________________                                Case Number (if known) ______________________________
           First Name                 Middle Name                     Last Name




 Part 6:       Answer These Questions for Reporting Purposes


                                        16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                  as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.

                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.

                                        16c. State the type of debts you owe that are not consumer debts or business debts.

                                                ________________________________________________________________

17.   Are you filing under
                                                No. I am not filing under Chapter 7. Go to line 18.
      Chapter 7?
                                                Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      Do you estimate that after                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      any exempt property is
      excluded and                                        No.
      administrative expenses
                                                          Yes.
      are paid that funds will be
      available for distribution
      to unsecured creditors?

18.   How many creditors do                     1-49                                    1,000-5,000                                     25,001-50,000
      you estimate that you                     50-99                                   5,001-10,000                                    50,001-100,000
      owe?                                      100-199                                 10,001-25,000                                   More than 100,000
                                                200-999

19.   How much do you                           $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your assets to                   $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      be worth?                                 $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

20.   How much do you                           $0-$50,000                              $1,000,001-$10 million                          $500,000,001-$1 billion
      estimate your liabilities                 $50,001-$100,000                        $10,000,001-$50 million                         $1,000,000,001-$10 billion
      to be?                                    $100,001-$500,000                       $50,000,001-$100 million                        $10,000,000,001-$50 billion
                                                $500,001-$1 million                     $100,000,001-$500 million                       More than $50 billion

 Part 7:       Sign Below


                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.

                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.

                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                        I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                        with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                        18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                         û /s/ Crystal Renee Wright
                                                ________________________________________
                                                Signature of Debtor 1
                                                                                                                û     ______________________________________
                                                                                                                      Signature of Debtor 2


                                                             11/22/2024
                                                Executed on _________________                                         Executed on _________________
                                                               MM / DD / YYYY                                                        MM / DD / YYYY

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Debtor 1   Crystal                   Renee                     Wright
           __________________________________________________________________                                Case Number (if known) ______________________________
           First Name                 Middle Name                  Last Name




                                      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are         to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                    available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                      the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented            knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         û /s/ Cecil Denard Scruggs
                                          ________________________________________
                                          Signature of Attorney for Debtor
                                                                                                                 Date
                                                                                                                              Date: 11/25/2024
                                                                                                                             _______________________
                                                                                                                             MM / DD / YYYY



                                               Cecil Denard Scruggs
                                          _______________________________________________________________________________
                                          Printed name

                                              Geraci Law L.L.C.
                                          _______________________________________________________________________________
                                          Firm name

                                              55 E. Monroe St., #3400
                                          _______________________________________________________________________________
                                          Number Street

                                          _______________________________________________________________________________


                                                Chicago
                                          _____________________________________________
                                                                                                                IL              60603
                                                                                                       __________ ____________________
                                          City                                                                State        ZIP Code



                                                          312-332-1800
                                          Contact Phone ________________________________                                         mer@geracilaw.com
                                                                                                                 Email address ___________________



                                                                                                                     IN
                                          ______________________________________________                         ___________
                                          Bar number                                                             State




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   Fill in this information to identify your case:


   Debtor 1                Crystal                   Renee                     Wright
                           __________________________________________________________________
                           First Name                     Middle Name                  Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                     Middle Name                  Last Name


   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                       (State)
   Case Number ______________________________________________
    (If known)                                                                                                                                 Check if this is an
                                                                                                                                               amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


   Part 1:               Give Details About Your Marital Status and Where You Lived Before

 01. What is your current marital status?


           Married
            Not married


 02 During the last 3 years, have you lived anywhere other than where you live now?

            No.
            Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


              Debtor 1                                                           Dates Debtor 1       Debtor 2:                                   Dates Debtor 2
                                                                                 lived there                                                      lived there
 03 Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
     property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington,
     and Wisconsin.)
            No.
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2:               Explain the Sources of Your Income




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Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                             Case Number (if known) ______________________________
             First Name                   Middle Name                Last Name


 04   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No.
           Yes. Fill in the details
                                                         Debtor 1                                                  Debtor 2
                                                         Sources of income          Gross income                   Sources of income          Gross income
                                                         Check all that apply       (before deductions and         Check all that apply       (before deductions and
                                                                                    exclusions)                                               exclusions)

           From January 1 of current year until             Wages, commissions,       $67,456
                                                                                    ___________________               Wages, commissions,     ___________________
                                                            bonuses, tips                                             bonuses, tips
           the date you filed for bankruptcy:
                                                            Operating a business                                      Operating a business




           For last calendar year:                          Wages, commissions,       $79,496
                                                                                    ___________________               Wages, commissions,     ___________________
                                                            bonuses, tips                                             bonuses, tips
           (January 1 to December 31, 2023)                                           $2,664
                                                            Operating a business                                      Operating a business




           For the calendar year before that:               Wages, commissions,       $78,005
                                                                                    ___________________               Wages, commissions,     ___________________
                                                            bonuses, tips                                             bonuses, tips
           (January 1 to December 31, 2022)
                                                            Operating a business                                      Operating a business




 05 Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No.
           Yes. Fill in the details
                                                         Debtor 1                                                  Debtor 2
                                                         Sources of income          Gross income                   Sources of income          Gross income
                                                         Describe below.            (before deductions and         Describe below.            (before deductions and
                                                                                    exclusions)                                               exclusions)

           From January 1 of current year until         Child Support
                                                        __________________            $1,026
                                                                                    ___________________           __________________          ___________________

           the date you filed for bankruptcy:           __________________                                        __________________




           For last calendar year:                      Child Support
                                                        __________________            $4,160
                                                                                    ___________________           __________________          ___________________

           (January 1 to December 31, 2023)             __________________                                        __________________




           For last calendar year:                      Child Support
                                                        __________________            $4,160
                                                                                    ___________________           __________________          ___________________

           (January 1 to December 31, 2022)             __________________                                        __________________




Official Form 107            Record # 936428               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
                                          Case 24-31610-pes                    Doc 1         Filed 11/25/24                 Page 11 of 65

Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                    Case Number (if known) ______________________________
              First Name                        Middle Name                 Last Name



   Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy



 06   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?


             No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                  “incurred by an individual primarily for a personal, family, or household purpose.”
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,5755* or more?


                           No. Go to line 7.


                           Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


             Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                           No. Go to line 7.


                           Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.



                                                                          Dates of          Total amount paid              Amount you still owe     Was this payment for...
                                                                          payments



                              ___________________________
                               Bridgecrest                               Monthly           ___________________
                                                                                             $2,040.00                 ___________________
                                                                                                                         See Schedule D                Mortgage
                              ___________________________
                               7300 E Hampton Ave                                                                                                      Car
                                                                                                                                                       Credit card
                              ___________________________
                               Mesa, AZ 85209
                                                                                                                                                       Loan repayment
                              ___________________________
                                                                                                                                                       Suppliers or vendors
                                                                                                                                                       Other ____________




                              ___________________________
                               Rocket Mortgage                           Monthly           ___________________
                                                                                             $3,432.00                 ___________________
                                                                                                                         See Schedule D                Mortgage
                              ___________________________
                               1050 Woodward Ave                                                                                                       Car
                                                                                                                                                       Credit card
                              ___________________________
                               Detroit, MI 48226
                                                                                                                                                       Loan repayment
                              ___________________________
                                                                                                                                                       Suppliers or vendors
                                                                                                                                                       Other ____________




 07   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

           No.
           Yes. List all payments to an insider.
                                                                          Dates of          Total amount           Amount you still          Reason for this payment
                                                                          payment           paid                   owe



Official Form 107                Record # 936428                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
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Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                 Case Number (if known) ______________________________
             First Name                      Middle Name               Last Name




 08   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
      an insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No.
           Yes. List all payments to an insider.
                                                                     Dates of           Total amount            Amount you still          Reason for this payment
                                                                     payment            paid                    owe                       Include creditor's name

   Part 4:        Identify Legal actions, Repossessions, and Foreclosures

 09   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

           No.
           Yes. Fill in the details.
                                                               Nature of the case                  Court or agency                                       Status of the case
 10   Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

           No. Go to line 11
           Yes. Fill in the information below.


                                                               Describe the property                                               Date                 Value of the property
             _________________________________
              PSECU                                             2007 Ram 1500                                                      Sring 2024             $6,500
                                                                                                                                                        ___________________
             _________________________________
              1500 Elmerton Ave
             _________________________________
              Harrisburg, PA 17110
             _________________________________
                                                               Explain what happened
                                                                    Property was repossessed.
                                                                    Property was foreclosed.
                                                                    Property was garnished.
                                                                    Property was attached, seized, or levied.




 11   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts
      or refuse to make a payment because you owed a debt?

           No. Go to line 11
           Yes. Fill in the information below.
 12 Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
      court-appointed receiver, a custodian, or another official?
           No.
           Yes.


   Part 5:        List Certain Gifts and Contributions

 13   Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No.
           Yes. Fill in the details for each gift.
 14   Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

           No.
           Yes. Fill in the details for each gift.


   Part 6:        List Certain Losses




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Debtor 1        Crystal                   Renee                     Wright
                __________________________________________________________________                             Case Number (if known) ______________________________
                First Name                    Middle Name                Last Name


 15     Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
        gambling?

            No.
            Yes. Fill in the details for each gift.


      Part 7:       List Certain Payments or Transfers


 16     Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No.
            Yes. Fill in the details

            Party Contact Info                                     Description and value of any property transferred              Date payment     Amount of payment
                                                                                                                                  or transfer

                _________________________________
                 Geraci Law L.L.C.                                                                                               From              Payment/Value:
                                                                                                                                                   ___________________
                                                                                                                                 11/13/2024 -      $4,000.00: $0.00
                _________________________________
                 55 E. Monroe Street #3400
                                                                                                                                 11/22/2024        paid prior to filing,
                _________________________________
                 Chicago, IL 60603                                                                                                                 balance to be paid
                                                                                                                                                   through the plan.
                _________________________________

                ______________________________________
                Person who Made the Payment, if Not You
            Party Contact Info                                     Description and value of any property transferred              Date payment     Amount of payment
                                                                                                                                  or transfer
                                                                   Credit Counseling Services                                    2024              $25.00
                _________________________________
                 Hananwill Credit Counseling                                                                                                       ___________________
                _________________________________
                 115 N. Cross St.
                _________________________________
                 Robinson, IL 62454
                _________________________________

                ______________________________________
                Person who Made the Payment, if Not You


 17     Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

            No.
            Yes. Fill in the details.


 18     Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.

            No.
            Yes. Fill in the details for each gift.

 19     Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)

            No.
            Yes. Fill in the details for each gift.


   Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units




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                                        Case 24-31610-pes                       Doc 1          Filed 11/25/24               Page 14 of 65

Debtor 1        Crystal                   Renee                     Wright
                __________________________________________________________________                                    Case Number (if known) ______________________________
                First Name                   Middle Name                     Last Name


 20     Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.

            No.
            Yes. Fill in the details.
                                                           Last 4 digits of account number       Type of account or          Date account was       Last balance before
                                                                                                 instrument                  closed, sold, moved,   closing or transfer
                                                                                                                             or transferred



 21     Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

            No.
            Yes. Fill in the details.
                                                           Who else had access to it?                  Describe the contents                        Do you still
                                                                                                                                                    have it?
 22     Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No.
            Yes. Fill in the details.
                                                           Who else has or had access to it?           Describe the contents                        Do you still
                                                                                                                                                    have it?

      Part 9:       Identify Property You Hold or Control for Someone Else

 23     Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

            No.
            Yes. Fill in the details.
                                                           Where is the property?                      Describe the property                        Value



   Part 10:         Give Details About Environmental Information


 For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.

       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
       it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24     Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No.
            Yes. Fill in the details.
                                                           Governmental unit                           Environmental law, if you know it            Date of notice


 25     Have you notified any governmental unit of any release of hazardous material?

            No.
            Yes. Fill in the details.
                                                           Governmental unit                           Environmental law, if you know it            Date of notice


 26     Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Fill in the details.
                                                           Court or agency                             Nature of the case                           Status of the case




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Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                 Case Number (if known) ______________________________
                First Name                   Middle Name                    Last Name




   Part 11:         Give Details About Your Business or Connections to Any Business


 27    Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                  A member of a limited liability company (LLC) or limited liability partnership (LLP)
                  A partner in a partnership
                  An officer, director, or managing executive of a corporation
                  An owner of at least 5% of the voting or equity securities of a corporation


            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

           Debtor
           _____________________________                    Describe the nature of the business                             Employer Identification number
           _____________________________                                                                                    Do not include Social Security number or
                                                            Doordash Driver
           _____________________________                                                                                             999999
                                                                                                                                EIN: ______________________________
           _____________________________
                                                           Name of accountant or bookkeeper                                 Dates business existed
                                                            Debtor
                                                                                                                                2023



 28    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
       institutions, creditors, or other parties.

            No.
            Yes. Fill in the details.
                                                           Date issued

  Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




      û     /s/ Crystal Renee Wright
            ________________________________________
            Signature of Debtor 1
                                                                                 û      ______________________________________
                                                                                        Signature of Debtor 2


                  11/22/2024
            Date _________________                                                      Date _________________
                  MM / DD / YYYY                                                              MM / DD / YYYY


      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No

           Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No

           Yes. Name of person ___________________________________________________. Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                Declaration, and Signature (Official Form 119).



Official Form 107             Record # 936428                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
                                             Case 24-31610-pes                                   Doc 1               Filed 11/25/24                         Page 16 of 65

   Fill in this information to identify your case:


    Debtor 1                Crystal                   Renee                     Wright
                            __________________________________________________________________
                            First Name                        Middle Name                             Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                        Middle Name                             Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                                (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                                                             Check if this is an
                                                                                                                                                                                           amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form . If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


  Part 1:                 Summarize Your Assets




                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own


 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B........................................................................................................
                                                                                                                                                                                                       $ 263,529


      1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................
                                                                                                                                                                                                         $ 22,791


      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................                                   $ 286,320




  Part 2:                 Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
      2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                                                        $162,397


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...............................................
                                                                                                                                                                                                                 $344
                                                                                                                                                                                                          $39,443
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F...........................................



                                                                                                                                                                  Your total liabilities             $202,184.00



  Part 3:                 Summarize Your Liabilities



 4. Schedule I: Your Income (Official Form 106I)
      Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                                                        $5,526.35

 5. Schedule J: Your Expenses (Official Form 106J)
      Copy your monthly expenses from line 22c of Schedule J ..................................................................................................
                                                                                                                                                                                                        $3,023.00




Official Form 106Sum                     Record # 936428          Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
                                    Case 24-31610-pes                        Doc 1        Filed 11/25/24             Page 17 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                 Case Number (if known) ______________________________
              First Name                  Middle Name                     Last Name




 Part 4:          Answer These Questions for Administrative and Statistical Records


 6. Are you filing for bankruptcy under Chapter 7, 11 or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes



 7. What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose .” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules .




 8. From the Statement of Your Current Monthly Income : Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14 .                                                                                   $ 6,530.54




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                     Total claim

     From Part 4 of Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                  0.00
                                                                                                                   $______________________


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         344.00
                                                                                                                   $______________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               0.00
                                                                                                                   $______________________


    9d. Student loans. (Copy line 6f.)                                                                                6,220.00
                                                                                                                   $______________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                       0.00
                                                                                                                   $______________________
    priority claims. (Copy line 6g.)


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                            0.00
                                                                                                                   $______________________




    9g. Total. Add lines 9a through 9f.                                                                               6,564.00
                                                                                                                   $______________________




Official Form 106Sum           Record # 936428          Summary of Your Assets and Liabilities and Certain Statistical Information                                      page 2
                                               Case 24-31610-pes                          Doc 1           Filed 11/25/24          Page 18 of 65
   Fill in this information to identify your case and this filing:


   Debtor 1                Crystal                   Renee                     Wright
                           __________________________________________________________________
                           First Name                   Middle Name                      Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                   Middle Name                      Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                         (State)
   Case Number ______________________________________________                                                                                                      Check if this is an
    (If known)                                                                                                                                                     amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write your name and case number (if known). Answer every question.

   Part 1:               Describe Each Residence, Building, Land, or Other Real Esate You Own or Have an Interest In

 01. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
               No.
               Yes.        Describe.....
                                                                              What is the property? Check all that apply.                 Do not deduct secured claims or exemptions. Put
                                                                                 Single-family home                                       the amount of any secured claims on Schedule D:
      7700 Westgate Boulevard
      ______________________________________________                                                                                      Creditors Who Have Claims Secured by Property
      Street address, if available, or other description                         Duplex or multi-unit building

                                                                                 Condominium or cooperative                              Current value of the         Current value of the
      ______________________________________________
                                                                                                                                         entire property?             portion you own?
                                                                                 Manufactured or mobile home

       Kissimmee                                  FL                  34747      Land                                                                1,500.00
                                                                                                                                         $________________                        1,500.00
                                                                                                                                                                      $________________
      ______________________________________________
      City                           State     ZIP Code                          Investment property

      Osceola                                                                    Timeshare
      ______________________________________________                                                                                     Describe the nature of your ownership
      County                                                                     Other _______________________________                   interest (such as fee simple, tenancy by
                                                                                                                                         the entireties, or a life estat), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                 Debtor 1 only                                           _____________________________________
                                                                                 Debtor 2 only

                                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                             Check if this is a community property
                                                                                                                                             (see instructions)
                                                                                 At least one of the debtors and another

                                                                              Other information you wish to add about this item, such as local
                                                                              property identification number: __________________________________


                                                                              What is the property? Check all that apply.                 Do not deduct secured claims or exemptions. Put
                                                                                 Single-family home                                       the amount of any secured claims on Schedule D:
      2933 Colonial Dr
      ______________________________________________                                                                                      Creditors Who Have Claims Secured by Property
      Street address, if available, or other description                         Duplex or multi-unit building

                                                                                 Condominium or cooperative                              Current value of the         Current value of the
      ______________________________________________
                                                                                                                                         entire property?             portion you own?
                                                                                 Manufactured or mobile home

       Mishawaka                                  IN                  46544      Land                                                              262,029.00
                                                                                                                                         $________________                      262,029.00
                                                                                                                                                                      $________________
      ______________________________________________
      City                           State     ZIP Code                          Investment property

      St. Joseph                                                                 Timeshare
      ______________________________________________                                                                                     Describe the nature of your ownership
      County                                                                     Other _______________________________                   interest (such as fee simple, tenancy by
                                                                                                                                         the entireties, or a life estat), if known.
                                                                              Who has an interest in the property? Check one.
                                                                                 Debtor 1 only                                           Joint on title with Deandre Wright
                                                                                                                                         _____________________________________
                                                                                 Debtor 2 only

                                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                             Check if this is a community property
                                                                                                                                             (see instructions)
                                                                                 At least one of the debtors and another

                                                                              Other information you wish to add about this item, such as local
                                                                                                                     71-09-24-127-007.000-023
                                                                              property identification number: __________________________________




Official Form 106A/B                       Record #    936428                             Schedule A/B: Property                                                                       Page 1 of 7
                                                Case 24-31610-pes                                  Doc 1           Filed 11/25/24                       Page 19 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                                           Case Number (if known) ______________________________
             First Name                           Middle Name                          Last Name



 2. Add the dollar value of the portion you own for all of your entries fro Part 1, including any entries for pages
    you have attached for Part 1. Write that number here ............................................................................................................. -->                                 $263,529.00


   Part 2:          Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 03. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
             No.
             Yes.         Describe.....
                   Make:                               Nissan
                                                       ____________              Who has an interest in the property? Check one.                                   Do not deduct secured claims or exemptions. Put
                                                                                                                                                                   the amount of any secured claims on Schedule D:
                   Model:                              Rogue
                                                       ____________                  Debtor 1 only
                                                                                                                                                                   Creditors Who Have Claims Secured by Property
                                                                                     Debtor 2 only
                   Year:                               2021
                                                       ____________                                                                                               Current value of the         Current value of the
                                                                                     Debtor 1 and Debtor 2 only
                                                        115,000                                                                                                   entire property?             portion you own?
                   Approximate Mileage:                ____________
                                                                                     At least one of the debtors and another
                   Other information:                                                                                                                                        16,580.00
                                                                                                                                                                  $________________                        16,580.00
                                                                                                                                                                                               $________________
                                                                                       Check if this is community property (see
                    2021 Nissan Rogue with over 115,000
                                                                                       instructions)
                    miles



 04. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
             No.
             Yes.         Describe.....
 5. Add the dollar value of the portion you own for all of your entries fro Part 2, including any entries for pages
                                                                                                                                                                                                             $ 16,580.00
    you have attached for Part 2. Write that number here ................................................................................................ -->


   Part 3:          Describe Your Personal and Household Items


 Do you own or have any legal or equitable interest in any of the following items?                                                                                                        Current value of the
                                                                                                                                                                                          portion you own?
                                                                                                                                                                                          Do not deduct secured claims
                                                                                                                                                                                          or exemptions
 06. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
             No.
             Yes.         Describe.....
                                            Furniture, linens, small appliances, table & chairs, bedroom                                                                     $2,500
                                           set
                                                                                                                                                                                                             2,500.00
                                                                                                                                                                                                       $____________
 07. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
       collections; electronic devices including cell phones, cameras, media players, games
             No.
             Yes.         Describe.....
                                           3 TVs, tablet, printer, cellphone                                                                                                 $1,400
                                                                                                                                                                                                             1,400.00
                                                                                                                                                                                                       $____________
 08. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
             No.
             Yes.         Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________
 09. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
       and kayaks; carpentry tools; musical instruments
             No.
             Yes.         Describe.....
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                       $____________




Official Form 106A/B                      Record #      936428                                     Schedule A/B: Property                                                                                     Page 2 of 7
                                                   Case 24-31610-pes                                      Doc 1             Filed 11/25/24                          Page 20 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                                                      Case Number (if known) ______________________________
              First Name                              Middle Name                             Last Name



 10. Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No.
             Yes.          Describe.....
                                              Pistol                                                                                                                                $400
                                                                                                                                                                                                                 400.00
                                                                                                                                                                                                         $____________
 11. Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No.
             Yes.          Describe.....
                                              Everyday clothes, furs, leather coats, shoes, accessories                                                                            $1,000
                                                                                                                                                                                                               1,000.00
                                                                                                                                                                                                         $____________
 12. Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
             No.
             Yes.          Describe.....
                                              Everyday jewelry, costume jewelry                                                                                                     $600
                                                                                                                                                                                                                 600.00
                                                                                                                                                                                                         $____________
 13. Non-farm animals
       Examples: Dogs, cats, birds, horses
             No.
             Yes.          Describe.....
                                              1 dog                                                                                                                                   $0
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 14. Any other personal and household items you did not already list, including any health aids you did not list
             No.
             Yes.          Describe.....
                                              books, CDs, DVDs & Family Photos                                                                                                      $100
                                                                                                                                                                                                                 100.00
                                                                                                                                                                                                         $____________
 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                                  $6,000.00
     for Part 3. Write that number here .................................................................................................................................... -->


   Part 4:          Describe Your Financial Assets


 Do you own or have any legal or equitable interest in any of the following?                                                                                                                 Current value of the
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                             or exemptions
 16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
             No.
             Yes.          Describe.....     Account Type:                                   Institution name:
                     Checking Account                                                               Cash App                                                                                                       1.00
                                                                                                                                                                                                         $____________

                     Savings Account                                                                Everwise                                                                                                       5.00
                                                                                                                                                                                                         $____________

                     Savings Account                                                                Huntington                                                                                                     5.00
                                                                                                                                                                                                         $____________

                     Checking Account                                                               Everwise                                                                                                     200.00
                                                                                                                                                                                                         $____________

                                                                                                                                                                                                                 211.00
                                                                                                                                                                                                         $____________
 18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts
             No.
             Yes.          Describe.....     Institution or issuer name:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________




Official Form 106A/B                       Record #         936428                                        Schedule A/B: Property                                                                                Page 3 of 7
                                             Case 24-31610-pes                           Doc 1        Filed 11/25/24                 Page 21 of 65
Debtor 1   Crystal                   Renee                     Wright
           __________________________________________________________________                                             Case Number (if known) ______________________________
           First Name                         Middle Name                    Last Name



 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
           No.
           Yes.         Describe.....   Name of Entity and Percent of Ownership:
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No.
           Yes.         Describe.....   Issuer name:
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
           No.
           Yes.         Describe.....   Type of account and Institution name:
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
           No.
           Yes.         Describe.....   Institution name or individual:
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No.
           Yes.         Describe.....   Issuer name and description:
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No.
           Yes.         Describe.....   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
           No.
           Yes.         Describe.....
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No.
           Yes.         Describe.....
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No.
           Yes.         Describe.....
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________


 Money or property owed to you?                                                                                                                                   Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                  or exemptions


 28. Tax refunds owed to you
           No.
           Yes.         Describe.....
                                                                                                                                                                                        0.00
                                                                                                                                                                              $____________
 29. Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No.
           Yes.         Describe.....
                                         Past due child support
                                                                                                                                                                              $____________
                                                                                                                                                                                   Unknown




Official Form 106A/B                    Record #   936428                                Schedule A/B: Property                                                                      Page 4 of 7
                                                    Case 24-31610-pes                                     Doc 1              Filed 11/25/24                          Page 22 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                                                       Case Number (if known) ______________________________
              First Name                              Middle Name                             Last Name



 30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
       Social Security benefits; unpaid loans you made to someone else
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 31. Interest in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
             No.                             Company Name & Beneficiary:
             Yes.          Describe.....
                                               Health, disability & term life insurance                                                                                                $0
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 32. Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 35. Any financial assets you did not already list
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                                   $211.00
     for Part 4. Write that number here ..................................................................................................................................... -->


   Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
             No.
             Yes.
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions
 38. Accounts receivable or commissions you already earned
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 39. Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________
 41. Inventory
             No.
             Yes.          Describe.....
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                         $____________




Official Form 106A/B                       Record #         936428                                        Schedule A/B: Property                                                                                Page 5 of 7
                                                   Case 24-31610-pes                                      Doc 1             Filed 11/25/24                          Page 23 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                                                     Case Number (if known) ______________________________
              First Name                              Middle Name                             Last Name



 42. Interests in partnerships or joint ventures
              No.                            Name of Entity and Percent of Ownership:
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 43. Customer lists, mailing lists, or other compilations
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 44. Any business-related property you did not already list
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________

 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here .................................................................................................................................... -->                                 $ 0.00


    Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 47. Farm animals
       Examples: Livestock, poultry, farm-raised fish
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 48. Crops—either growing or harvested
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 50. Farm and fishing supplies, chemicals, and feed
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________
 51. Any farm- and commercial fishing-related property you did not already list
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________

 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .................................................................................................................................... -->                                 $0.00




   Part 7:           Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership
              No.
              Yes.         Describe.....
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                        $____________


 54. Add the dollar value of all of your entries from Part 7. Write that number here ..................................................... -->                                                                   $0.00




Official Form 106A/B                       Record #         936428                                        Schedule A/B: Property                                                                             Page 6 of 7
                                          Case 24-31610-pes                             Doc 1       Filed 11/25/24             Page 24 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                     Case Number (if known) ______________________________
             First Name                     Middle Name                     Last Name




   Part 8:         List the Totals of Each Part of this Form



 55. Part 1: Total real estate, line 2                                                                                                                                 $ 263,529.00

 56. Part 2: Total vehicles, line 5                                                                              $ 16,580.00

 57. Part 3: Total personal and household items, line 15                                                          $ 6,000.00

 58. Part 4: Total financial assets, line 36                                                                       $ 211.00

 59. Part 5: Total business-related property, line 45                                                                 $ 0.00

 60. Part 6: Total farm- and fishing-related property, line 52                                                        $ 0.00

 61. Part 7: Total other property not listed, line 54                                                                 $ 0.00

 62. Total personal property. Add lines 56 through 61. .......................                                   $ 22,791.00                                            $ 22,791.00



 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $286,320.00




Official Form 106A/B                Record #     936428                                 Schedule A/B: Property                                                              Page 7 of 7
                                               Case 24-31610-pes                       Doc 1          Filed 11/25/24             Page 25 of 65
   Fill in this information to identify your case:


   Debtor 1                Crystal                   Renee                     Wright
                           __________________________________________________________________
                           First Name                        Middle Name                  Last Name


   Debtor 2                __________________________________________________________________
   (Spouse, if filing)     First Name                        Middle Name                  Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                          (State)
   Case Number ______________________________________________                                                                                                   Check if this is an
    (If known)                                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                                       04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to
state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to
the amount of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and
tax-exempt retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value
under a law that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount,
your exemption would be limited to the applicable statutory amount.


   Part 1:               Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions . 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions . 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on                       Current value of the       Amount of the exemption you claim       Specific laws that allow exemption
       Schedule A/B that lists this property                               portion you own

                                                                           Copy the value from        Check only one box for each exemption
                                                                           Schedule A/B
     Brief                       2933 Colonial Dr Mishawaka IN                                                                                IC 34-55-10-2(c)(1) - $22,750.00
                                                                                                                                              _____________________________
     description:                46544 - Primary Residence
                                 _________________________                    262,029
                                                                           $________________                 22,750
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               01
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       2021 Nissan Rogue with over                                                                                  IC 34-55-10-2(c)(2) - $6,000.00
                                                                                                                                              _____________________________
     description:                115,000 miles
                                 _________________________                    16,580
                                                                           $________________                 6,000
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               03
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       Furniture, linens, small appliances,                                                                         IC 34-55-10-2(c)(2) - $2,500.00
                                                                                                                                              _____________________________
     description:                table & chairs, bedroom set
                                 _________________________                    2,500
                                                                           $________________                 2,500
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               06
                                 ______                                                                  any applicable statutory limit       _____________________________

     Brief                       3 TVs, tablet, printer, cellphone                                                                            IC 34-55-10-2(c)(2) - $1,400.00
                                                                                                                                              _____________________________
     description:                _________________________                    1,400
                                                                           $________________                 1,400
                                                                                                         $ _________________________          _____________________________
                                                                                                                                              _____________________________
     Line from                                                                                           100% of fair market value, up to
     Schedule A/B:               07
                                 ______                                                                  any applicable statutory limit       _____________________________




  Official Form 106C                         Record #       936428                 Schedule C: The Property You Claim as Exempt                                        Page 1 of 2
                                         Case 24-31610-pes                  Doc 1       Filed 11/25/24                 Page 26 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                               Case Number (if known) ______________________________
              First Name                       Middle Name             Last Name




   Part 2:         Additional Page


      Brief description of the property and line on            Current value of the     Amount of the exemption you claim             Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own

                                                               Copy the value from      Check only one box for each exemption
                                                               Schedule A/B
     Brief                 Pistol                                                                                                    IC 34-55-10-2(c)(2) - $400.00
                                                                                                                                     _____________________________
     description:          _________________________              400
                                                               $________________                400
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         10
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 Everyday clothes, furs, leather                                                                           IC 34-55-10-2(c)(2) - $1,000.00
                                                                                                                                     _____________________________
     description:          coats, shoes, accessories
                           _________________________              1,000
                                                               $________________                1,000
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         11
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 Everyday jewelry, costume jewelry                                                                         IC 34-55-10-2(c)(2) - $600.00
                                                                                                                                     _____________________________
     description:          _________________________              600
                                                               $________________                600
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         12
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 books, CDs, DVDs & Family                                                                                 IC 34-55-10-2(c)(2) - $100.00
                                                                                                                                     _____________________________
     description:          Photos
                           _________________________              100
                                                               $________________                100
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         14
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 Checking Account, Cash App                                                                                IC 34-55-10-2(c)(3) - $50.00
                                                                                                                                     _____________________________
     description:          _________________________              1
                                                               $________________                50
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 Savings Account, Everwise                                                                                 IC 34-55-10-2(c)(3) - $100.00
                                                                                                                                     _____________________________
     description:          _________________________              5
                                                               $________________                100
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 Savings Account, Huntington                                                                               IC 34-55-10-2(c)(3) - $100.00
                                                                                                                                     _____________________________
     description:          _________________________              5
                                                               $________________                100
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit           _____________________________

     Brief                 Checking Account, Everwise                                                                                IC 34-55-10-2(c)(3) - $200.00
                                                                                                                                     _____________________________
     description:          _________________________              200
                                                               $________________                200
                                                                                            $ _________________________              _____________________________
                                                                                                                                     _____________________________
     Line from                                                                              100% of fair market value, up to
     Schedule A/B:         17
                           ______                                                           any applicable statutory limit           _____________________________

 3. Are you claiming a homestead exemption of more than $189,050?

    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment .)

           No.

           Yes. Did you acquire the property covered by the exemption within 1 ,215 days before you filed this case?

                 No

                 Yes.




  Official Form 106C                   Record #      936428            Schedule C: The Property You Claim as Exempt                                            Page 2 of 2
                                                   Case 24-31610-pes                          Doc 1            Filed 11/25/24             Page 27 of 65
      Fill in this information to identify your case:


      Debtor 1                Crystal                   Renee                     Wright
                              __________________________________________________________________
                              First Name                     Middle Name                     Last Name


      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                     Middle Name                     Last Name



      United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                             (State)
      Case Number ______________________________________________                                                                                                         Check if this is an
       (If known)                                                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).
 1. Do any creditors have claims secured by your property?

              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

              Yes. Fill in all of the information below.


      Part 1:               List All Secured Claims

                                                                                                                                           Column A              Column A               Column C
 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately                              Amount of claim       Value of collateral    Unsecured
         for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                             Do not deduct the     that supports this     portion
         As much as possible, list the claims in alphabetical order according to the creditors name.                                       value of collateral   claim                  If any

 2.1                                                                       Describe the property that secures the claim:                     26,140.00
                                                                                                                                           $_____________          16,580.00
                                                                                                                                                                 $______________          9,560.00
                                                                                                                                                                                        $________
              Bridgecrest
             _________________________________
                                                                                                                                           _
             Creditor's Name                                               2021 Nissan Rogue with over 115,000 miles
             7300 E HAMPTON AVE
             _________________________________
              Number                 Street

             _________________________________                             As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
             MESA                   AZ 85209
             _________________________________                                Unliquidated
              City                                State   Zip Code
                                                                              Disputed

         Who owes the debt? Check one.                                     Nature of Lien. Check all that apply.
               Debtor 1 only                                                  An agreement you made (such as mortgage or secured
               Debtor 2 only                                                  car loan)
               Debtor 1 and Debtor 2 only                                     Statutory lien (such as tax lien, mechanic's lien)
               At least one of the debtors and another                        Judgment lien from a lawsuit
                                                                              Other (including a right to offset) ____________________
                Check if this claim relates to a
                community debt
                                    04-06-2024
         Date Debt was incurred _____________                                                                   5401____ ____
                                                                           Last 4 digits of account number ____ ____

 2.2                                                                       Describe the property that secures the claim:                     128,757.00
                                                                                                                                           $_____________          262,029.00
                                                                                                                                                                 $______________          0.00
                                                                                                                                                                                        $________
              Rocket Mortgage
             _________________________________
                                                                                                                                           _
             Creditor's Name                                               2933 Colonial Dr Mishawaka IN 46544 - Primary
             1050 WOODWARD AVE
             _________________________________                             Residence
              Number                 Street

             _________________________________                             As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
             DETROIT                MI 48226
             _________________________________                                Unliquidated
              City                                State   Zip Code
                                                                              Disputed

         Who owes the debt? Check one.                                     Nature of Lien. Check all that apply.
               Debtor 1 only                                                  An agreement you made (such as mortgage or secured
               Debtor 2 only                                                  car loan)
               Debtor 1 and Debtor 2 only                                     Statutory lien (such as tax lien, mechanic's lien)
               At least one of the debtors and another                        Judgment lien from a lawsuit
                                                                              Other (including a right to offset) ____________________
                Check if this claim relates to a
                community debt
                                    2020-2024
         Date Debt was incurred _____________                                                                   7240____ ____
                                                                           Last 4 digits of account number ____ ____

         Add the dollar value of your entries in Column A on this page. Write that number here:                                              154,897.00
                                                                                                                                           $_____________
Official Form 106D                            Record #     936428                  Schedule D: Creditors Who Have Claims Secured by _Property                                             Page 1 of 2
                                               Case 24-31610-pes                             Doc 1         Filed 11/25/24                 Page 28 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                               Case Number (if known) ______________________________
                  First Name                    Middle Name                      Last Name




 2.3                                                                 Describe the property that secures the claim:                             7,500.00
                                                                                                                                             $_____________           1,500.00
                                                                                                                                                                    $______________      6,000.00
                                                                                                                                                                                       $________
            Westgate Resorts
           _________________________________
                                                                                                                                             _
           Creditor's Name                                           7700 Westgate Boulevard Kissimmee FL 34747
           3611 Collins Ave
           _________________________________
           Number              Street

           _________________________________                         As of the date you file, the claim is: Check all that apply.
                                                                          Contingent
           Miami Beach            FL 33140
           _________________________________                              Unliquidated
           City                              State   Zip Code
                                                                          Disputed

       Who owes the debt? Check one.                                 Nature of Lien. Check all that apply.
            Debtor 1 only                                                 An agreement you made (such as mortgage or secured
            Debtor 2 only                                                 car loan)
            Debtor 1 and Debtor 2 only                                    Statutory lien (such as tax lien, mechanic's lien)
            At least one of the debtors and another                       Judgment lien from a lawsuit
                                                                          Other (including a right to offset) ____________________
            Check if this claim relates to a
            community debt
       Date Debt was incurred _____________                          Last 4 digits of account number ____ ____ ____ ____

   Part 2:              List Others to Be Notified for a Debt That You Already Listed



 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

 2.3     Westgate Resorts, Bankruptcy Dept.                                                                           On which line in Part 1 did you enter the creditor? ___   2.3
        _________________________________________________________
           Name
         2801 Professional Pkwy.                                                                                      Last 4 digits of account number ____ ____ ____ ____
        _________________________________________________________
           Number              Street

        _________________________________________________________

         Ocoee                                  FL 34761
        _________________________________________________________
           City                                                   State   Zip Code




       Add the dollar value of your entries in Column A on this page. Write that number here:                                                  162,397.00
                                                                                                                                             $_____________
Official Form 106D                      Record #      936428                   Schedule D: Creditors Who Have Claims Secured by _Property                                                Page 2 of 2
                                                 Case 24-31610-pes                          Doc 1          Filed 11/25/24               Page 29 of 65
     Fill in this information to identify your case:


     Debtor 1                Crystal                   Renee                     Wright
                             __________________________________________________________________
                             First Name                    Middle Name                     Last Name


     Debtor 2                __________________________________________________________________
     (Spouse, if filing)     First Name                    Middle Name                     Last Name



     United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                           (State)
     Case Number ______________________________________________                                                                                                  Check if this is an
      (If known)                                                                                                                                                 amended filing

Official Form 106E/F
                                                                                                                                                                                          12/15
Schedule E/F: Creditors Who Have Unsecured Claims
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property . If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the
top of any additional pages, write your name and case number (if known).

     Part 1:               List All of Your PRIORITY Unsecured Claims


 1. Do any creditors have priority unsecured claims against you?

             No. Go to Part 2.

             Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
      each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
      nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
      unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                             Total claim     Priority       Nonpriority
                                                                                                                                                             amount         amount

 2.1         IRS Priority Debt
            _________________________________                            Last 4 digits of account number ____ ____ ____ ____                  344.00
                                                                                                                                            $_____________     344.00
                                                                                                                                                             $__________      0.00
                                                                                                                                                                            $___________
            Creditor's Name                                                                                                                 _                ____
            PO Box 7346
            _________________________________                            When was the debt incurred?               2023
                                                                                                                  ______________
             Number                 Street

            _________________________________                            As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
            Philadelphia           PA 19101
            _________________________________                               Unliquidated
             City                               State   Zip Code
        Who owes the debt? Check one.                                       Disputed

              Debtor 1 only
              Debtor 2 only                                              Type of PRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                    Domestic support obligations
              At least one of the debtors and another                       Taxes and certain other debts you owe the government

             Check if this claim relates to a
             community debt                                                 Claims for death or personal injury while you were
         Is the claim subject to offest?                                    intoxicated
              No                                                            Other. Specify ________________________
              Yes

                           List All of Your NONPRIORITY Unsecured Claims
     Part 2:


 3. Do any creditors have nonpriority unsecured claims against you?

             No. You have nothing to report in this part. Submit this form to the court with your other schedules.

             Yes.
 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.
                                                                                                                                                                            Total claim




Official Form 106E/F                         Record #    936428                        Schedule E/F: Creditors Who Have Unsecured Claims                                Page 1 of 10
                                            Case 24-31610-pes                        Doc 1         Filed 11/25/24                     Page 30 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                      Case Number (if known) ______________________________
              First Name                      Middle Name                Last Name

 4.1        Affirm, Inc
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              0.00
                                                                                                                                                                              $___________
           Creditor's Name
           650 California St Fl 12
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           San Francisco          CA 94108
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Extended to Debtor(s)
                                                                  Other. Specify ______________________________________
            Yes

 4.2        Amazon.com
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              43.00
                                                                                                                                                                              $___________
           Creditor's Name
           202 Westlake Ave N Ste 2
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Seattle                WA 98109
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Extended to Debtor(s)
                                                                  Other. Specify ______________________________________
            Yes

 4.3        Amex/Cbna
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              1,502.00
                                                                                                                                                                              $___________
           Creditor's Name
           9111 DUKE BLVD
           _________________________________                   When was the debt incurred?                  2016-2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           MASON                  OH 45040
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        936428                 Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 2 of 10
                                            Case 24-31610-pes                        Doc 1         Filed 11/25/24                     Page 31 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                      Case Number (if known) ______________________________
              First Name                      Middle Name                Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                        Total Claim


 4.4        Barclays Bank/Old Navy
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              744.00
                                                                                                                                                                              $___________
           Creditor's Name
           125 S WEST ST
           _________________________________                   When was the debt incurred?                  2019-2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           WILMINGTON             DE 19801
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes

 4.5        Beacon Health System
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              316.00
                                                                                                                                                                              $___________
           Creditor's Name
           615 N Michigan St
           _________________________________                   When was the debt incurred?                  2024
                                                                                                           ______________
           Number            Street

           Acct # AM8004404763
           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           South Bend             IN 46601
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Medical Debt
                                                                  Other. Specify ______________________________________
            Yes

 4.6        Capital One
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              5,183.00
                                                                                                                                                                              $___________
           Creditor's Name
           PO BOX 31293
           _________________________________                   When was the debt incurred?                  2018-2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           SALT LAKE CITY         UT 84131
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        936428                 Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 3 of 10
                                            Case 24-31610-pes                        Doc 1         Filed 11/25/24                     Page 32 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                      Case Number (if known) ______________________________
              First Name                      Middle Name                Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                           Total Claim


 4.7        Check Into Cash
           _________________________________                                                        3878____ ____
                                                               Last 4 digits of account number ____ ____                                                                           400.00
                                                                                                                                                                                 $___________
           Creditor's Name
           726 S 11th St
           _________________________________                   When was the debt incurred?                  2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Niles                  MI 49120
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     PayDay Loan
                                                                  Other. Specify ______________________________________
            Yes

 4.8        Citicards Cbna
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                                 2,014.00
                                                                                                                                                                                 $___________
           Creditor's Name
           PO BOX 6241
           _________________________________                   When was the debt incurred?                  2020-2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           SIOUX FALLS            SD 57117
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

           Check if this claim relates to a                       that you did not report as priority claims
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes

 4.9        Dept of Education/Neln
           _________________________________                                                        6643____ ____
                                                               Last 4 digits of account number ____ ____                                                                           6,220.00
                                                                                                                                                                                 $___________
           Creditor's Name
           121 S 13TH ST
           _________________________________                   When was the debt incurred?                  2016-2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           LINCOLN                NE 68508
           _________________________________                      Unliquidated
           City                            State   Zip Code
       Who owes the debt? Check one.                              Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.                                                            Interest keeps running on most
                                                                                                                                            non-dischargeable debts including student loans,
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce
                                                                                                                                            and other educational debts. You may owe more
           Check if this claim relates to a                       that you did not report as priority claims                                after the case is over than you did before filing.
           community debt                                         Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offest?
            No                                                    Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        936428                 Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 10
                                            Case 24-31610-pes                        Doc 1         Filed 11/25/24                     Page 33 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                      Case Number (if known) ______________________________
              First Name                       Middle Name               Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                        Total Claim


 4.10       Equifax
           _________________________________                                                        3140____ ____
                                                               Last 4 digits of account number ____ ____                                                                        0.00
                                                                                                                                                                              $___________
           Creditor's Name
           1550 Peachtree St. Ne
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Atlanta                Ga 30309
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Notice Only
                                                                  Other. Specify ______________________________________
            Yes

 4.11       Everwise Credit Union
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              3,036.00
                                                                                                                                                                              $___________
           Creditor's Name
           110 S MAIN ST
           _________________________________                   When was the debt incurred?                  2017-2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           SOUTH BEND             IN 46601
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes

 4.12       Expedia
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              115.00
                                                                                                                                                                              $___________
           Creditor's Name
           1111 Expedia Group Way W
           _________________________________                   When was the debt incurred?                  2023
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Seattle                WA 98119
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Credit Extended to Debtor(s)
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        936428                 Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 5 of 10
                                            Case 24-31610-pes                        Doc 1         Filed 11/25/24                     Page 34 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                      Case Number (if known) ______________________________
              First Name                       Middle Name               Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                        Total Claim


 4.13       Experian
           _________________________________                                                        3140____ ____
                                                               Last 4 digits of account number ____ ____                                                                        0.00
                                                                                                                                                                              $___________
           Creditor's Name
           Po Box 2002
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Allen                  Tx 75013
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Notice Only
                                                                  Other. Specify ______________________________________
            Yes

 4.14       First Financial Bank N
           _________________________________                                                        0598____ ____
                                                               Last 4 digits of account number ____ ____                                                                        6,001.00
                                                                                                                                                                              $___________
           Creditor's Name
           1 FIRST FINANCIAL PLZ
           _________________________________                   When was the debt incurred?                  08-15-2023
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           TERRE HAUTE            IN 47807
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Debt Owed
                                                                  Other. Specify ______________________________________
            Yes

 4.15       Goodyear Tire/Cbna
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              716.00
                                                                                                                                                                              $___________
           Creditor's Name
           PO BOX 6497
           _________________________________                   When was the debt incurred?                  2024-2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           SIOUX FALLS            SD 57117
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        936428                 Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 6 of 10
                                            Case 24-31610-pes                        Doc 1         Filed 11/25/24                     Page 35 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                      Case Number (if known) ______________________________
              First Name                       Middle Name               Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                        Total Claim


 4.16       Kohls/Capone
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              734.00
                                                                                                                                                                              $___________
           Creditor's Name
           N56 RIDGEWOOD DR
           _________________________________                   When was the debt incurred?                  2017-2023
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           MENOMONEE FAL          WI 53051
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Credit Card or Credit Use
                                                                  Other. Specify ______________________________________
            Yes

 4.17       MetroHealth
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              135.00
                                                                                                                                                                              $___________
           Creditor's Name
           2500 MetroHealth Dr
           _________________________________                   When was the debt incurred?                 ______________
           Number            Street

           Reference # 405720
           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Cleveland              OH 44109
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Medical Debt
                                                                  Other. Specify ______________________________________
            Yes

 4.18       PSECU
           _________________________________                                                        0001____ ____
                                                               Last 4 digits of account number ____ ____                                                                        11,179.00
                                                                                                                                                                              $___________
           Creditor's Name
           1500 ELMERTON AVE
           _________________________________                   When was the debt incurred?                  11-14-2022
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           HARRISBURG             PA 17110
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Deficiency, Repo'd/Surr'd Auto
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        936428                 Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 7 of 10
                                            Case 24-31610-pes                        Doc 1         Filed 11/25/24                     Page 36 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                      Case Number (if known) ______________________________
              First Name                       Middle Name               Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                        Total Claim


 4.19       PlatePass LLC
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              251.00
                                                                                                                                                                              $___________
           Creditor's Name
           PO Box 25367
           _________________________________                   When was the debt incurred?                  2024
                                                                                                           ______________
           Number            Street

           Invoice # 227386281
           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Tempe                  AZ 85282
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Fines
                                                                  Other. Specify ______________________________________
            Yes

 4.20       Revco Solutions
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              513.00
                                                                                                                                                                              $___________
           Creditor's Name
           250 E Broad St Ste 2100
           _________________________________                   When was the debt incurred?                  2024
                                                                                                           ______________
           Number            Street

           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Columbus               OH 43215
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Collecting for Creditor
                                                                  Other. Specify ______________________________________
            Yes

 4.21       State Farm
           _________________________________                   Last 4 digits of account number ____ ____ ____ ____                                                              127.00
                                                                                                                                                                              $___________
           Creditor's Name
           PO Box 52251
           _________________________________                   When was the debt incurred?                  2023
                                                                                                           ______________
           Number            Street

           Acct # 172-0663-754
           _________________________________                   As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
           Phoenix                AZ 85072
           _________________________________                      Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                             Disputed

            Debtor 1 only
            Debtor 2 only                                      Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                            Student loans.
            At least one of the debtors and another               Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                      that you did not report as priority claims
            community debt                                        Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                     Auto Accident
                                                                  Other. Specify ______________________________________
            Yes




Official Form 106E/F                  Record #        936428                 Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 8 of 10
                                            Case 24-31610-pes                          Doc 1         Filed 11/25/24                     Page 37 of 65
Debtor 1      Crystal                   Renee                     Wright
              __________________________________________________________________                                        Case Number (if known) ______________________________
              First Name                       Middle Name                 Last Name


   Part 2:        Your NONPRIORITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                                          Total Claim


 4.22       Transunion
           _________________________________                                                         3140____ ____
                                                                Last 4 digits of account number ____ ____                                                                         0.00
                                                                                                                                                                                $___________
           Creditor's Name
           Po Box 1000
           _________________________________                    When was the debt incurred?                  ______________
           Number            Street

           _________________________________                    As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
           Chester                Pa 19022
           _________________________________                        Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                               Disputed

            Debtor 1 only
            Debtor 2 only                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                              Student loans.
            At least one of the debtors and another                 Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                        that you did not report as priority claims
            community debt                                          Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                       Notice Only
                                                                    Other. Specify ______________________________________
            Yes

 4.23       Trinity Health
           _________________________________                    Last 4 digits of account number ____ ____ ____ ____                                                               214.00
                                                                                                                                                                                $___________
           Creditor's Name
           20555 Victor Parkway
           _________________________________                    When was the debt incurred?                   2024
                                                                                                             ______________
           Number            Street

           Acct # 114778946
           _________________________________                    As of the date you file, the claim is: Check all that apply.
                                                                    Contingent
           Livonia                MI 48152
           _________________________________                        Unliquidated
           City                            State   Zip Code
        Who owes the debt? Check one.                               Disputed

            Debtor 1 only
            Debtor 2 only                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                              Student loans.
            At least one of the debtors and another                 Obligations arising out of a separation agreement or divorce

            Check if this claim relates to a                        that you did not report as priority claims
            community debt                                          Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offest?
            No                                                                       Medical Debt
                                                                    Other. Specify ______________________________________
            Yes

   Part 3:          List Others to Be Notified for a Debt That You Already Listed



 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.




Official Form 106E/F                  Record #        936428                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 9 of 10
                                              Case 24-31610-pes                        Doc 1    Filed 11/25/24              Page 38 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                Case Number (if known) ______________________________
             First Name                        Middle Name                 Last Name

                   Add the Amounts for Each Type of Unsecured Claim
   Part 4:


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.



                                                                                                              Total claim

  Total claims            6a. Domestic support obligations                                          6a.     $______________________0.00
  from Part 1
                          6b. Taxes and Certain other debts you owe the                             6b.                         344.00
                                                                                                            $______________________
                              government


                          6c. Claims for death or personal injury while you were                    6c.     $______________________0.00
                              intoxicated


                          6d. Other. Add all other priority unsecured claims.                       6d.     $______________________0.00
                              Write that amount here.




                                                                                                                                344.00
                                                                                                            $______________________
                          6e. Total. Add lines 6a through 6d.                                       6e.




                                                                                                              Total claim

  Total claims            6f. Student loans                                                         6f.                        6,220.00
                                                                                                            $______________________
  from Part 2
                          6g. Obligations arising out of a separation agreement                     6g.     $______________________0.00
                              or divorce that you did not report as priority
                              claims


                          6h. Debts to pension or profit-sharing plans, and other                   6h.     $______________________0.00
                              similar debts


                          6i. Other. Add all other nonpriority unsecured claims.                    6i.                       33,223.00
                                                                                                            $______________________
                              Write that amount here.




                          6j. Total. Add lines 6f through 6i.                                       6j.                       39,443.00
                                                                                                            $______________________




Official Form 106E/F                   Record #      936428                     Schedule E/F: Creditors Who Have Unsecured Claims                            Page 10 of 10
                                              Case 24-31610-pes                        Doc 1       Filed 11/25/24            Page 39 of 65
   Fill in this information to identify your case:


   Debtor 1              Crystal                   Renee                     Wright
                         __________________________________________________________________
                         First Name                  Middle Name                      Last Name


   Debtor 2              __________________________________________________________________
   (Spouse, if filing)   First Name                  Middle Name                      Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                      (State)
   Case Number ______________________________________________                                                                                                Check if this is an
       (If known)                                                                                                                                            amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).
 1. Do you have any executory contracts or unexpired leases?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

            Yes. Fill in all of the information below even if the contracts or leases are listed in Schedule A/B: Property (Official Form 106A/B)


 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.


        Person or company with whom you have the contract or lease                                                 State what the contract or lease is for


 2.1
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.2
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.3
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code



 2.4
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code


 2.5
           __________________________________________________________________
            Name
           __________________________________________________________________
            Number              Street

           __________________________________________________________________
            City                                                   State   Zip Code




Official Form 106G                       Record #   936428                     Schedule G. Executory Contracts and Unexpired Leases                                           Page 1 of 1
                                              Case 24-31610-pes                       Doc 1         Filed 11/25/24        Page 40 of 65
   Fill in this information to identify your case:


   Debtor 1               Crystal                   Renee                     Wright
                          __________________________________________________________________
                          First Name                         Middle Name               Last Name


   Debtor 2               __________________________________________________________________
   (Spouse, if filing)    First Name                         Middle Name               Last Name



   United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                       (State)
   Case Number ______________________________________________                                                                                              Check if this is an
    (If known)                                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy
the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of
any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

           No.

           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Lousiiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.

           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               No
               Yes. Inwhich community state or territory did you live? __________________. Fill in the name and current address of that person.

                   _______________________________________________________________
                   Name of your spouse, former spouse or legal equivalent
                   _______________________________________________________________
                   Number          Street
                   _______________________________________________________________
                   City                                                       State                 Zip Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
       shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                                   Check all schedules that apply:

 3.1                                                                                                                                       2
           Deandre Wright
          _______________________________________________________________                                              Schedule D, line __________
          Name
                                                                                                                       Schedule E/F, line __________
           PO Box 2736
          _______________________________________________________________
           Number                Street
                                                                                                                       Schedule G, line __________
          Elkhart                                IN                    46515
          _______________________________________________________________
           City                                                             State                  Zip Code

 3.2
           Trennyce Brooks
          _______________________________________________________________                                              Schedule D, line __________
          Name
                                                                                                                                            4.12
                                                                                                                       Schedule E/F, line __________
           2933 Colonial Dr.
          _______________________________________________________________
           Number                Street
                                                                                                                       Schedule G, line __________
          Mishawaka                              IN                    46544
          _______________________________________________________________
           City                                                             State                  Zip Code

 3.3
           Tyrone Chappelle
          _______________________________________________________________                                              Schedule D, line __________
          Name
                                                                                                                                            4.16
                                                                                                                       Schedule E/F, line __________
           2645 Alpine Fir Ln
          _______________________________________________________________
           Number                Street
                                                                                                                       Schedule G, line __________
          Elkhart                                IN                    46517
          _______________________________________________________________
           City                                                             State                  Zip Code




Official Form 106H                          Record #      936428                      Schedule H: Your Codebtors                                                     Page 1 of 1
                                                      Case 24-31610-pes              Doc 1         Filed 11/25/24          Page 41 of 65

      Fill in this information to identify your case:


      Debtor 1                Crystal                   Renee                     Wright
                              __________________________________________________________________
                              First Name                       Middle Name           Last Name


      Debtor 2                __________________________________________________________________
      (Spouse, if filing)     First Name                       Middle Name           Last Name


      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF INDIANA __

      Case Number ______________________________________________                                                     Check if this is:
       (If known)
                                                                                                                          An amended filing
                                                                                                                          A supplement showing post-petition
                                                                                                                          chapter 13 income as of the following date:
                                                                                                                          _______________
Official Form 106I                                                                                                        MM / DD / YYYY


Schedule I: Your Income
                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:                   Describe Employment



1.        Fill in your employment                                                           Debtor 1                                      Debtor 2 or non-filing spouse
          information

          If you have more than one job,
          attach a separate page with                                                       X    Employed                                 Employed
          information about additional                    Employment status
                                                                                                 Not employed                             Not employed
          employers.

          Include part-time, seasonal, or
          self-employed work.
                                                          Occupation                    QMA
          Occupation may Include student
          or homemaker, if it applies.
                                                          Employers name                Trilogy Management Services

                                                          Employers address             303 N. Hurstbourne Pkwy Ste. 200

                                                                                        Louisville, KY 40222



                                                          How long employed there?      Since 11/1/2016


  Part 2:                   Give Details About Monthly Income


          Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
          spouse unless you are separated.
          If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
          lines below. If you need more space, attach a separate sheet to this form.



                                                                                                                For Debtor 1             For Debtor 2 or
                                                                                                                                         non-filing spouse

 2.        List monthly gross wages, salary and commissions (before all payroll
           deductions). If not paid monthly, calculate what the monthly wage would be.                              $6,400.64                           $0.00


 3.        Estimate and list monthly overtime pay.
                                                                                                                         $0.00                          $0.00

 4.        Calculate gross income. Add line 2 + line 3.
                                                                                                                $6,400.64                       $0.00




Official Form 106I                         Record #   936428                  Schedule I: Your Income                                                               Page 1 of 2
                                               Case 24-31610-pes                                         Doc 1   Filed 11/25/24          Page 42 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                                                 Case Number (if known) ______________________________
             First Name                               Middle Name                               Last Name



                                                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                                                   non-filing spouse

      Copy line 4 here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 4.   $6,400.64                      $0.00
5. List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                               5a.        $856.92                          $0.00
      5b. Mandatory contributions for retirement plans                                                                5b.            $0.00                        $0.00
      5c. Voluntary contributions for retirement plans                                                                5c.        $248.78                          $0.00
      5d. Required repayments of retirement fund loans                                                                5d.            $0.00                        $0.00
      5e. Insurance                                                                                                   5e.        $256.06                          $0.00
      5f. Domestic support obligations                                                                                5f.            $0.00                        $0.00
      5g. Union dues                                                                                                  5g.            $0.00                        $0.00
      5h. Other deductions. Specify: ______________________________
                                          Life Insurance(D1), Disability(D1), Legal/Donation(D1),                     5h.        $106.60                          $0.00
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                          6.      $1,468.35                          $0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                 7.    $4,932.29                    $0.00
8. List all other income regularly received:
      8a.     Net income from rental property and from operating a business,

              profession, or farm

              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total

              monthly net income.                                                                                     8a.           $0.00                        $0.00
      8b.     Interest and dividends                                                                                  8b.           $0.00                        $0.00
      8c.     Family support payments that you, a non-filing spouse, or a                                             8c.       $ 129.90                       $ 0.00
              dependent regularly receive
              Include alimony, spousal support, child support, maintenance, divorce

              settlement, and property settlement.
      8d.     Unemployment compensation                                                                               8d.           $0.00                        $0.00
      8e.     Social Security                                                                                         8e.           $0.00                        $0.00
      8f.     Other government assistance that you regularly receive                                                  8f.           $0.00                        $0.00
              Include cash assistance and the value (if known) of any non-cash

              assistance that you receive, such as food stamps (benefits under the
              Supplemental Nutrition Assistance Program) or housing subsidies.
              Specify: ____________________________________________
      8g.     Pension or retirement income                                                                            8g.           $0.00                        $0.00
      8h.                                        Tax Refund ($464.16),
              Other monthly income. Specify: __________________________                                               8h.        $464.16                         $0.00
9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.        $594.06                         $0.00

10.   Calculate monthly income. Add line 7 + line 9.                                                                  10.                     +                           =
                                                                                                                            $5,526.35                    $0.00                   $5,526.35
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.


11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
      other friends or relatives .
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify: _______________________________________________________________________________                                                                           11.            $0.00
12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                       12.     $5,526.35
13.   Do you expect an increase or decrease within the year after you file this form?

           X No.
             Yes. Explain:




Official Form 106I              Record #          936428                                    Schedule I: Your Income                                                             Page 2 of 2
                                                   Case 24-31610-pes                           Doc 1              Filed 11/25/24           Page 43 of 65

      Fill in this information to identify your case:


      Debtor 1                Crystal                   Renee                     Wright
                              __________________________________________________________________                                  Check if this is:
                              First Name                   Middle Name                        Last Name
                                                                                                                                         An amended filing
      Debtor 2                __________________________________________________________________                                         A supplement showing post-petition chapter 13
      (Spouse, if filing)     First Name                   Middle Name                        Last Name
                                                                                                                                         income as of the following date:
      United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF INDIANA __                                                        _______________
                                                                                                                                         MM / DD / YYYY
      Case Number ______________________________________________
       (If known)

                                                                                                                                         A separate filing for Debtor 2 because Debtor 2
Official Form 106J                                                                                                                       maintains a separate household.

Schedule J: Your Expenses                                                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

  Part 1:                   Describe Your Household

 1. Is this a joint case?
           X No. Go to line 2.

                 Yes. Does Debtor 2 live in a separate household?

                                   No.
                                   Yes. Debtor 2 must file a separate Schedule J.


 2.        Do you have dependents?                                 No                                                  Dependent's relationship to      Dependent's     Does dependent live
                                                                                                                       Debtor 1 or Debtor 2             age             with you?
           Do not list Debtor 1 and                          X     Yes. Fill out this information for
           Debtor 2.                                               each dependent..............................                                                              No
                                                                                                                       Daughter                              16
           Do not state the dependents'                                                                                                                                   X Yes
           names.
                                                                                                                                                                          X No

                                                                                                                                                                             Yes

                                                                                                                                                                          X No

                                                                                                                                                                             Yes

                                                                                                                                                                          X No

                                                                                                                                                                             Yes

                                                                                                                                                                          X No

                                                                                                                                                                             Yes

 3.        Do your expenses include                                X     No
           expenses of people other than
           yourself and your dependents?                                 Yes


  Part 2:                   Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in
 the applicable date.
 Include expenses paid for with non-cash government assistance if you know the value
 of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                                             Your expenses

 4.       The rental or home ownership expenses for your residence. Include first mortgage payments and
          any rent for the ground or lot.                                                                                                                      4.                             $0.00
          If not included in line 4:

          4a.        Real estate taxes                                                                                                                        4a.                             $0.00
          4b.        Property, homeowner's, or renter's insurance                                                                                             4b.                             $0.00
          4c.        Home maintenance, repair, and upkeep expenses                                                                                            4c.                         $100.00
          4d.        Homeowner's association or condominium dues                                                                                              4d.                             $0.00


Official Form 1066J                          Record #      936428                     Schedule J: Your Expenses                                                                   Page 1 of 3
                                         Case 24-31610-pes                          Doc 1   Filed 11/25/24        Page 44 of 65
Debtor 1     Crystal                   Renee                     Wright
             __________________________________________________________________                         Case Number (if known) ______________________________
             First Name                    Middle Name                  Last Name



                                                                                                                                             Your expenses


 5.    Additional Mortgage payments for your residence, such as home equity loans                                                       5.                         $0.00
 6.    Utilities:
       6a.    Electricity, heat, natural gas                                                                                          6a.                        $418.00
       6b.    Water, sewer, garbage collection                                                                                        6b.                          $0.00
       6c.    Telephone, cell phone, internet, satellite, and cable service                                                           6c.                        $370.00
       6d.    Other. Specify:____________________________________                                                                     6d.         $                    0.00
 7.    Food and housekeeping supplies                                                                                                   7.                       $800.00
 8.    Childcare and children’s education costs                                                                                         8.                       $100.00
 9.    Clothing, laundry, and dry cleaning                                                                                              9.                       $190.00
 10.   Personal care products and services                                                                                            10.                        $130.00
 11.   Medical and dental expenses                                                                                                    11.                         $80.00
 12.   Transportation. Include gas, maintenance, bus or train fare.                                                                   12.                        $500.00
       Do not include car payments.

 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                                             13.                        $120.00
 14.   Charitable contributions and religious donations                                                                               14.                          $0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                                           15a.                          $0.00
       15b. Health insurance                                                                                                         15b.                          $0.00
       15c. Vehicle insurance                                                                                                        15c.                        $150.00
       15d. Other insurance. Specify:_______________________________________                                                         15d.                          $0.00
 16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

                 Federal or State Tax Deductions or Repayments
       Specify: ________________________________________________________                                                              16.                          $0.00
 17.   Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                                               17a.                          $0.00
       17b. Car payments for Vehicle 2                                                                                               17b.                          $0.00
       17c. Other. Specify:_______________________________________________                                                           17c.                          $0.00
       17d. Other. Specify:__________________________________________________________________                                        17d.                          $0.00
 18.   Your payments of alimony, maintenance, and support that you did not report as deducted

       from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                         18.                          $0.00
 19.   Other payments you make to support others who do not live with you.

       Specify:_______________________________________________________                                                                19.                          $0.00
 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                                              20a.         $                    0.00
       20b. Real estate taxes                                                                                                        20b.         $                    0.00
       20c. Property, homeowner’s, or renter’s insurance                                                                             20c.         $                    0.00
       20d. Maintenance, repair, and upkeep expenses                                                                                 20d.         $                    0.00
       20e. Homeowner’s association or condominium dues                                                                              20e.         $                    0.00




Official Form 1066J                 Record #       936428              Schedule J: Your Expenses                                                         Page 2 of 3
                                             Case 24-31610-pes                       Doc 1   Filed 11/25/24            Page 45 of 65
Debtor 1       Crystal                   Renee                     Wright
               __________________________________________________________________                            Case Number (if known) ______________________________
               First Name                    Middle Name                 Last Name


 21.                     Pet Care ($60.00), Postage/Bank Fees ($5.00),
       Other. Specify: ________________________________________________________                                                            21.                         $65.00
 22.. Your monthly expense: Add lines 4 through 21.                                                                                        22.                       $3,023.00
       The result is your monthly expenses.




 23.   Calculate your monthly net income.

       23a.             Copy line 12 (your comibined monthly income) from Schedule I.                                                     23a.                       $5,526.35
       23b.             Copy your monthly expenses from line 22 above.                                                                    23b.   -                   $3,023.00
       23c.             Subtract your monthly expenses from your monthly income.                                                          23c.            $2,503.35
                        The result is your monthly net income.




 24.   Do you expect an increase or decrease in your expenses within the year after you file this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

           X    No
                Yes.         Explain Here:




Official Form 1066J                   Record #       936428              Schedule J: Your Expenses                                                            Page 3 of 3
                                            Case 24-31610-pes                      Doc 1            Filed 11/25/24         Page 46 of 65

   Fill in this information to identify your case:


    Debtor 1                Crystal                   Renee                     Wright
                            __________________________________________________________________
                            First Name                     Middle Name                  Last Name


    Debtor 2                __________________________________________________________________
    (Spouse, if filing)     First Name                     Middle Name                  Last Name


    United States Bankruptcy Court for the : __ NORTHERN__ District of _INDIANA__
                                                                                  (State)
    Case Number ______________________________________________
    (If known)                                                                                                                                        Check if this is an
                                                                                                                                                      amended filing




Official Form 106 Dec
Declaration About an Individual Debtor's Schedules                                                                                                                             12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                          Sign Below




   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No

             Yes. Name of Person _____________________________________________.                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                              Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




  û       /s/ Crystal Renee Wright
         ________________________________________
         Signature of Debtor 1
                                                                                 û     ______________________________________
                                                                                       Signature of Debtor 2


               11/22/2024
         Date _________________                                                        Date _________________
              MM / DD / YYYY                                                                 MM / DD / YYYY




Official Form 106Dec                     Record # 936428        Declaration About an Individual Debtor's Schedules                                                     page 1
                                  Case 24-31610-pes                Doc 1        Filed 11/25/24             Page 47 of 65
B2030 (Form 2030) (12/15)

                                                  United States Bankruptcy Court
                                         NORTHERN DISTRICT OF INDIANA SOUTH BEND DIVISION
In re

Crystal Renee Wright / Debtor                                                                          Case No:

                                                                                                       Chapter:     Chapter 13

                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am an attorney employed by Geraci Law L.L.C., the
attorney for the above named debtor(s) and that compensation paid to Geraci Law L.L.C. within one year before the filing of the
petition in bankruptcy, or agreed to be paid to Geraci Law L.L.C., for services rendered or to be rendered on behalf of the debtor(s) in
contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, Geraci Law L.L.C. has agreed to accept                             $4,000.00
        Prior to the filing of this statement Geraci Law L.L.C. has received                       $0.00
        Balance Due                                                                            $4,000.00
2.      The source of the compensation paid to Geraci Law L.L.C. was:
              Debtor(s)                Other: (specify)
3.      The source of compensation to be paid to Geraci Law L.L.C. is:

               Debtor(s)               Other: (specify)
4.           Geraci Law L.L.C. has not agreed to share the above-disclosed compensation with any other person unless they are members
             and associates of the law firm.

             Geraci Law L.L.C. has agreed to share the above-disclosed compensation with another person or persons who are not
             members or associates of the law firm. A copy of the agreement, together with a list of the names of the people sharing in the
             compensation, is attached.
5.   In return for the above-disclosed fee, Geraci Law L.L.C. has agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
             bankruptcy;
     b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
        c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
6.   By agreement with the debtor(s), the above-disclosed fee does not include payment for the following services:




                                                                        CERTIFICATION
                               I certify that the foregoing is a complete statement of any agreement or arrangement for
                           payment to Geraci Law L.L.C. for representation of the debtor(s) in these bankruptcy
                           proceedings.

                            Date: 11/25/2024
                            ____________________________                /s/ Cecil Denard Scruggs
                                                                        ____________________________
                            Date                                        Signature of Attorney, signing for Geraci Law L.L.C.

                                                                        ________________________________________
                                                                         Geraci Law L.L.C.
                                                                        Name of law firm

Record #      936428                                                                                                                          Page 1 of 1
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         Notice Required by 11 U.S.C. § 342(b) for
         Individuals Filing for Bankruptcy (Form 2010)


         This notice is for you if:                                                 Chapter 7: Liquidation

              You are an individual filing for bankruptcy,                                          $245   filing fee
              and                                                                                   $78    administrative fee
                                                                                    +_________$15____trustee surcharge
              Your debts are primarily consumer debts.                                              $338   total fee
              Consumer debts are defined in 11 U.S.C.
              § 101(8) as “incurred by an individual                                Chapter 7 is for individuals who have financial
              primarily for a personal, family, or                                  difficulty preventing them from paying their
              household purpose.”                                                   debts and who are willing to allow their non-
                                                                                    exempt property to be used to pay their
                                                                                    creditors. The primary purpose of filing under
                                                                                    chapter 7 is to have your debts discharged. The
         The types of bankruptcy that are                                           bankruptcy discharge relieves you after
         available to individuals                                                   bankruptcy from having to pay many of your
                                                                                    pre-bankruptcy debts. Exceptions exist for
         Individuals who meet the qualifications may file                           particular debts, and liens on property may still
         under one of four different chapters of the                                be enforced after discharge. For example, a
         Bankruptcy Code:                                                           creditor may have the right to foreclose a home
                                                                                    mortgage or repossess an automobile.
              Chapter 7 - Liquidation
                                                                                    However, if the court finds that you have
              Chapter 11 - Reorganization                                           committed certain kinds of improper conduct
                                                                                    described in the Bankruptcy Code, the court
              Chapter 12 - Voluntary repayment plan                                 may deny your discharge.
                                for family farmers
                                or fishermen                                        You should know that even if you file
                                                                                    chapter 7 and you receive a discharge, some
              Chapter 13 - Voluntary repayment plan                                 debts are not discharged under the law.
                                for individuals with regular                        Therefore, you may still be responsible to pay:
                                income                                                   most taxes;
                                                                                         most student loans;
         You should have an attorney review your decision                                domestic support and property settlement
         to file for bankruptcy and the choice of chapter.
                                                                                         obligations;




936428   Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 1
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              most fines, penalties, forfeitures, and                               your income is more than the median income
              criminal restitution obligations; and                                 for your state of residence and family size,
              certain debts that are not listed in your                             depending on the results of the Means Test, the
                                                                                    U.S. trustee, bankruptcy administrator, or
              bankruptcy papers.
                                                                                    creditors can file a motion to dismiss your case
                                                                                    under § 707(b) of the Bankruptcy Code. If a
         You may also be required to pay debts arising                              motion is filed, the court will decide if your
         from:                                                                      case should be dismissed. To avoid dismissal,
                                                                                    you may choose to proceed under another
              fraud or theft;                                                       chapter of the Bankruptcy Code.
              fraud or defalcation while acting in breach
              of fiduciary capacity;                                                If you are an individual filing for chapter 7
              intentional injuries that you inflicted; and                          bankruptcy, the trustee may sell your property
              death or personal injury caused by                                    to pay your debts, subject to your right to
                                                                                    exempt the property or a portion of the
              operating a motor vehicle, vessel, or
                                                                                    proceeds from the sale of the property. The
              aircraft while intoxicated from alcohol or
                                                                                    property, and the proceeds from property that
              drugs.
                                                                                    your bankruptcy trustee sells or liquidates that
                                                                                    you are entitled to, is called exempt property.
         If your debts are primarily consumer debts, the                            Exemptions may enable you to keep your
         court can dismiss your chapter 7 case if it finds                          home, a car, clothing, and household items or
         that you have enough income to repay                                       to receive some of the proceeds if the property
         creditors a certain amount. You must file                                  is sold.
         Chapter 7 Statement of Your Current Monthly
         Income (Official Form 122A-1) if you are an                                Exemptions are not automatic. To exempt
         individual filing for bankruptcy under                                     property, you must list it on Schedule C: The
         chapter 7. This form will determine your                                   Property You Claim as Exempt (Official Form
         current monthly income and compare whether                                 106C). If you do not list the property, the
         your income is more than the median income                                 trustee may sell it and pay all of the proceeds
         that applies in your state.                                                to your creditors.

         If your income is not above the median for
         your state, you will not have to complete the
         other chapter 7 form, the Chapter 7 Means                                  Chapter 11: Reorganization
         Test Calculation (Official Form 122A-2).
                                                                                                    $1,167   filing fee
                                                                                    +_________$571___administrative fee
         If your income is above the median for your                                                $1,738   total fee
         state, you must file a second form -the
         Chapter 7 Means Test Calculation (Official
         Form 122A-2). The calculations on the form-
                                                                                    Chapter 11 is often used for reorganizing a
         sometimes called the Means Test-deduct
                                                                                    business, but is also available to individuals.
         from your income living expenses and
                                                                                    The provisions of chapter 11 are too
         payments on certain debts to determine any
                                                                                    complicated to summarize briefly.
         amount available to pay unsecured creditors. If



936428   Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                page 2
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         Read These Important Warnings


           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a
           mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
           and following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


           Chapter 12:           Repayment plan for family                            Under chapter 13, you must file with the court
                                 farmers or fishermen                                 a plan to repay your creditors all or part of the
                                                                                      money that you owe them, usually using your
                           $200       filing fee
                                                                                      future earnings. If the court approves your
           +               $78        administrative fee
                           $278       total fee
                                                                                      plan, the court will allow you to repay your
                                                                                      debts, as adjusted by the plan, within 3 years or
                                                                                      5 years, depending on your income and other
           Similar to chapter 13, chapter 12 permits
                                                                                      factors.
           family farmers and fishermen to repay their
           debts over a period of time using future
                                                                                      After you make all the payments under your
           earnings and to discharge some debts that are
                                                                                      plan, many of your debts are discharged. The
           not paid.
                                                                                      debts that are not discharged and that you may
                                                                                      still be responsible to pay include:
           Chapter 13:            Repayment plan for
                                  individuals with regular                                 domestic support obligations,
                                  income                                                   most student loans,
                           $235       filing fee                                           certain taxes,
           +               $78        administrative fee                                   debts for fraud or theft,
                           $313       total fee                                            debts for fraud or defalcation while acting
                                                                                           in a fiduciary capacity,
                                                                                           most criminal fines and restitution
           Chapter 13 is for individuals who have regular
           income and would like to pay all or part of                                     obligations,
           their debts in installments over a period of time                               certain debts that are not listed in your
           and to discharge some debts that are not paid.                                  bankruptcy papers,
           You are eligible for chapter 13 only if your                                    certain debts for acts that caused death or
           debts are not more than certain dollar amounts                                  personal injury, and
           set forth in 11 U.S.C. § 109.                                                   certain long-term secured debts.


936428     Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                                    A married couple may file a bankruptcy case
            Warning: File Your Forms on Time                                        together-called a joint case. If you file a joint
                                                                                    case and each spouse lists the same mailing
            Section 521(a)(1) of the Bankruptcy Code
            requires that you promptly file detailed information                    address on the bankruptcy petition, the
            about your creditors, assets, liabilities, income,                      bankruptcy court generally will mail you and
            expenses and general financial condition. The                           your spouse one copy of each notice, unless
            court may dismiss your bankruptcy case if you do
            not file this information within the deadlines set by
                                                                                    you file a statement with the court asking that
            the Bankruptcy Code, the Bankruptcy Rules, and                          each spouse receive separate copies.
            the local rules of the court.

            For more information about the documents and                            Understand which services you
            their deadlines, go to:                                                 could receive from credit
            http://www.uscourts.gov/forms/bankruptcy-forms
                                                                                    counseling agencies


         Bankruptcy crimes have serious
                                                                                    The law generally requires that you receive a
                                                                                    credit counseling briefing from an approved
         consequences
                                                                                    credit counseling agency. 11 U.S.C. § 109(h).
                                                                                    If you are filing a joint case, both spouses must
               If you knowingly and fraudulently conceal
                                                                                    receive the briefing. With limited exceptions,
               assets or make a false oath or statement
                                                                                    you must receive it within the 180 days before
               under penalty of perjury-either orally or
                                                                                    you file your bankruptcy petition. This briefing
               in writing-in connection with a
                                                                                    is usually conducted by telephone or on the
               bankruptcy case, you may be fined,
                                                                                    Internet.
               imprisoned, or both.
                                                                                    In addition, after filing a bankruptcy case, you
               All information you supply in connection with a
                                                                                    generally must complete a financial
               bankruptcy case is subject to
                                                                                    management instructional course before you
               examination by the Attorney General acting
                                                                                    can receive a discharge. If you are filing a joint
               through the Office of the U.S. Trustee, the
                                                                                    case, both spouses must complete the course.
               Office of the U.S. Attorney, and other
               offices and employees of the U.S.
                                                                                    You can obtain the list of agencies approved to
               Department of Justice.
                                                                                    provide both the briefing and the instructional
                                                                                    course from: http://www.uscourts.gov/services-
         Make sure the court has your                                               forms/bankruptcy/credit-counseling-and-debtor-
         mailing address                                                            education-courses.

         The bankruptcy court sends notices to the                                  In Alabama and North Carolina, go to:
         mailing address you list on Voluntary Petition                             http://www.uscourts.gov/services-
         for Individuals Filing for Bankruptcy (Official                            forms/bankruptcy/credit-counseling-and-
         Form 101). To ensure that you receive                                      debtor-education-courses.
         information about your case, Bankruptcy
         Rule 4002 requires that you notify the court of                            If you do not have access to a computer, the
         any changes in your address.                                               clerk of the bankruptcy court may be able to help
                                                                                    you obtain the list.




                 I have read the above document, and any questions I may have were answered by my attorney before signing.


                         11/22/2024 /s/ Crystal Renee Wright
                                                                Crystal Renee Wright




              Dated: 11/25/2024 /s/ Cecil Denard Scruggs
                                           Attorney: Cecil Denard Scruggs
936428   Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                  page 4
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                                  UNITED STATES BANKRUPTCY COURT
In re
                           NORTHERN DISTRICT OF INDIANA SOUTH BEND DIVISION
 Crystal Renee Wright / Debtor                                                                           Bankruptcy Docket #:
                                                                                                         Judge:


                                           VERIFICATION OF CREDITOR MATRIX
The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of our knowledge.




                      I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.




11/22/2024                                /s/ Crystal Renee Wright                                                       X Date & Sign
                                                           Crystal Renee Wright




           * Joint debtors must provide information for both spouses. Penalty for making a false statement or concealing property: Fine
                                   up to $500,000 or up to 5 years imprisonment or both. 18 U.S.C. 152 and 3571.
Record #     936428                                                                                    B 1D (Official Form 1, Exh.D)(12/08)   Page 1 of 1
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            Affirm, Inc
            Bankruptcy Dept
            650 California St Fl 12
            San Francisco CA 94108

            Amazon.com
            Bankruptcy Dept
            202 Westlake Ave N Ste 2
            Seattle WA 98109

            Amex/Cbna
            Attn: Bankruptcy Dept.
            9111 DUKE BLVD
            MASON OH 45040

            Barclays Bank/Old Navy
            Attn: Bankruptcy Dept.
            125 S WEST ST
            WILMINGTON DE 19801

            Beacon Health System
            Bankruptcy Dept
            615 N Michigan St
            Acct # AM8004404763
            South Bend IN 46601

            Bridgecrest
            Attn: Bankruptcy Dept.
            7300 E HAMPTON AVE
            MESA AZ 85209

            Capital One
            Attn: Bankruptcy Dept.
            PO BOX 31293
            SALT LAKE CITY UT 84131

            Check Into Cash
            Bankruptcy Department
            726 S 11th St
            Niles MI 49120

            Citicards Cbna
            Attn: Bankruptcy Dept.
            PO BOX 6241
            SIOUX FALLS SD 57117

            Dept of Education/Neln
            Attn: Bankruptcy Dept.
            121 S 13TH ST
            LINCOLN NE 68508

            Everwise Credit Union
            Attn: Bankruptcy Dept.
            110 S MAIN ST
            SOUTH BEND IN 46601
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            Expedia
            Bankruptcy Dept
            1111 Expedia Group Way W
            Seattle WA 98119

            First Financial Bank N
            Attn: Bankruptcy Dept.
            1 FIRST FINANCIAL PLZ
            TERRE HAUTE IN 47807

            Goodyear Tire/Cbna
            Attn: Bankruptcy Dept.
            PO BOX 6497
            SIOUX FALLS SD 57117

            IRS Priority Debt
            Centralized Insolvency Operation
            PO Box 7346
            Philadelphia PA 19101

            Kohls/Capone
            Attn: Bankruptcy Dept.
            N56 RIDGEWOOD DR
            MENOMONEE FAL WI 53051

            MetroHealth
            Bankruptcy Dept
            2500 MetroHealth Dr
            Reference # 405720
            Cleveland OH 44109

            P S E C U
            Attn: Bankruptcy Dept.
            1500 ELMERTON AVE
            HARRISBURG PA 17110

            PlatePass LLC
            Bankruptcy Dept
            PO Box 25367
            Invoice # 227386281
            Tempe AZ 85282

            Revco Solutions
            Bankruptcy Dept
            250 E Broad St Ste 2100
            Columbus OH 43215

            Rocket Mortgage
            Attn: Bankruptcy Dept.
            1050 WOODWARD AVE
            DETROIT MI 48226

            State Farm
            Bankruptcy Dept
            PO Box 52251
            Acct # 172-0663-754
            Phoenix AZ 85072
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            Trinity Health
            Bankruptcy Dept
            20555 Victor Parkway
            Acct # 114778946
            Livonia MI 48152

            Westgate Resorts
            Bankruptcy Department
            3611 Collins Ave
            Miami Beach FL 33140

            Westgate Resorts
            Bankruptcy Dept.
            2801 Professional Pkwy.
            Ocoee FL 34761
                                            CaseDISCLAIMER
                                                 24-31610-pes Debtors
                                                              Doc 1 Filed
                                                                      have11/25/24
                                                                           read andPage 56 of 65
                                                                                    agree:
1.      Divorce or family support debts to a spouse, ex-spouse, child, guardian ad litem or similar person or entity in connection with a separation agreement,
divorce decree or court order are not dischargable. Priority support debts must be paid in full in your Chapter 13 or it cannot be confirmed. DEBTS YOU AGREED
TO ASSUME IN MARITAL SETTLEMENT AGREEMENTS are NON-DISCHARGEABLE if your ex-spouse files an adversary complaint, and the Judge rules that
(a) you do not have the ability to pay the debt OR (b) discharging such debt would result in a benefit to you that outweighs the detriment to ex-spouse or your
child. You agree to get advice in writing from your divorce attorney and send to us with copy of agreement. You must list any ex-spouse or spouse as a creditor.
No guarantee any divorce debt is dischargeable. Property you are still on title to, or have a right to in a divorce, may be taken by a Bankruptcy trustee in a
Chapter 7 and sold, or may be disposable income in a 13.
2.      Student loans and educational benefits are not discharged in Chapter 7 or 13 if government insured loan or owed to non-profit school unless you pay us to
file a complaint within the bankruptcy to prove repayment would be an "undue hardship", and win. Interest on student loans continue to run while you are in a
Chapter 13.
3.     Cosigners, joint applicants, debts of persons other than debtor, debts incurred during marriage in community property states, or for family support are
not discharged and joint, community or co-signers are not protected from collection unless you pay 100% of the debt. Creditors can collect from co-signors and put
your bankruptcy on their credit report, and report them negatively to credit bureaus. You may prevent this by making the regular payments to the creditor.
Creditors can liquidate collateral of your co-signer and refuse to continue payment in installments. Property you are joint on with other persons can be
LIQUIDATED to pay your creditors.
4.     TAX DEBTS. Most taxes are not discharged in bankruptcy. However, income tax debt (1040 type tax) can be discharged if the following four rules are met:
(1). The tax return was DUE at least 3 YEARS (plus extensions) before the filing of your bankruptcy case. (2). You FILED your income tax return at least 2
YEARS before your bankruptcy was filed. (You did not file a return if the tax authority or IRS had to file one for you, or if you didn't send the return to the District
Director) (3). You did not wilfully intend to evade the tax. (4). The tax must have been ASSESSED over 240 DAYS before the bankruptcy filing. We recommend
you meet with the IRS or state department of revenue to make sure all the conditions have been met, before you hire us or file a bankruptcy. Fraudulent taxes
and taxes on unfiled returns can be discharged in a Chapter 13 case. Time in an offers in compromise, & time in bankruptcy plus 6 months, will extend the above
time periods. Employers' share of FICA & FUTA is dischargeable, but not trust fund taxes like the employee's funds or sales tax.
5. Fines, traffic tickets, parking tickets, penalties to governmental unit are not discharged in Chapter 7, may not be discharged in 13 without full payment.
6. Non filing spouse: If you file individually, your spouse is not our client. Only your debts are discharged. If you want to protect a non-filing spouse, pay their
bills or file a joint case with them. Family expenses (medical bills, rent and necessities may be collected from a non-filing spouse). Wisconsin, community
property is liable for community debts. 7. DUI PERSONAL INJURIES, DEBTS YOU DON'T LIST are not discharged.
8. DEBTS where creditors successfully object to discharge may survive Creditors, the Trustee, or Court, can try to deny discharge based on many factors,
a. Income sufficient to pay a percentage of your unsecured debt. b. Failure to keep books and records documenting your financial affairs. c. Luxury purchases
or cash advances within 60 days of filing or without intent or ability to repay. d. Debts you made by false pretenses, breach of fiduciary duty, wilful and malicious
injuries to others e. Benefit overpayments like aid or unemployment if a determination of fraud has been made before or during bankruptcy. f. Failure to appear
at meetings, court dates, or co-operate with the Trustee.
9. INTEREST ON NON-DISCHARGEABLE DEBTS in a Chapter 13 continues to accrue, and CREDITORS WHO DO NOT FILE CLAIMS in your Chapter 13 plan within 90 days (180 days for
governmental units) of the meeting of creditors, do not get paid. Your plan and their claim should provide for interest at contract rate, or you will have to pay the
debt outside the Chapter 13 plan. Property taxes must be paid by you directly to avoid sale for delinquent taxes.
10. LIQUIDATION OF REAL AND PERSONAL PROPERTY. If you file a Chapter 7, any property that is not listed and claimed exempt on Schedule C pursuant to
state or federal law is taken and sold by the trustee to pay creditors. You agree to assume the risk that your property will be taken and sold by the bankruptcy
trustee (at or less than what it is worth) if we can't protect it under applicable state law. You get a discharge, but the trustee can take property not listed and
exempted on schedules B and C and sell it for whatever price will provide some benefit to creditors.
11. CHANGE IN LAWS. Laws & court cases change constantly. We can file your case today if you pay us in full (some attorneys give credit, we don't) pay the
filing fee and sign your petition in our main office. ANY DELAY either in hiring us, or after, IS YOUR RESPONSIBILITY. ADVERSE RULINGS Judges that sit in
adjoining courtrooms can rule differently on the same facts. We can predict but can't guarantee a judge will or will not rule against you. You accept the risk of a
judge ruling against you, as in any lawsuit.
12. PAYMENTS TO CREDITORS YOU PREFERRED to pay more than $600 in front of others, within 1 yr if a relative or insider, or within 90 days if another
creditor, so don't pay off debts to keep credit cards or protect others. TRANSFERS OF PROPERTY within 4 years that made you unable to pay your debts at the
time can be reversed by a Trustee and the transferee will have to give back the property you transferred.
13. SURRENDER OF PROPERTY Bankruptcy gets rid of debts, but real estate, condos and time shares remain in your name until a foreclosure sale or the lender
accepts a deed in lieu of foreclosure. Turn condo keys over to condo association or remain liable for assessments after filing, and make sure you keep buildings &
land insured and maintained and secured until it is taken back by lender or out of your name. If you let a house go vacant and pipes explode or someone gets
killed in there you may be liable.
14. RIGHT TO RECEIVE inheritances, tax refunds, injury claims, compensation of any kind, insurance or realty commissions, are property of the bankruptcy estate
and you will surrender these to the trustee unless they are claimed exempt on Schedule C, and no objection to your claim of exemption is upheld. Do not deduct
extra money from taxes so you are entitled to a refund, change your W-9 if necessary.
15. JOINT ACCOUNT HOLDERS holders entire amount in the account could be taken by the trustee under Chapter 7.
16. MARRIED COUPLES GOING THROUGH DIVORCE: We have been advised to seek independent counsel for our bankruptcy. We understand that Peter Francis
Geraci does not represent us with regard to any divorce matters and does not make any representations regarding what will happen in divorce court. We have
decided to file a bankruptcy together dispite the fact that we are getting a divorce and our interests could be adverse. We have agreed to cooperate with each
other in this joint bankruptcy.
17. AUTO LEASES & INSTALLMENT AGREEMENTS to purchase things, leases and almost all contracts will be void after bankruptcy. They are "executory
contracts", and if they are of no benefit to the bankruptcy estate and not assumed within 60 days of filing, they are void. Debtors have been warned of this, and
unless there is a novation under state law, or agreement not to use bankrptcy to void the contract, the debtors rights under the contract are extinguished. Debtor
agrees to be responsible for obtaining such agreements or losing rights under such contracts. Debtor agrees that his or her attorney will not file motions to assume
such contracts.
18. Setoffs if you have money in a credit union or creditor account, or other loans that cross-collateralized, any money or property may be taken for both loans.
The Undersigned have read the above & assume the risk that a debt is not discharged in bankruptcy, that our non-exempt property will be taken and sold by the
bankruptcy trustee if it can't be protected, that the trustee might object if I/we have excess income, or change in State, Federal or Bankruptcy laws before the case
is filed in Court AND WE HAVE TO READ, CHECK, & MAKE SURE OUR PETITION IS ACCURATE!!!!


 11/22/2024                                               /s/ Crystal Renee Wright
                                                                               Crystal Renee Wright




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                          STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. §341


  INTRODUCTION
  Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Trustee, United States Department of Justice, has prepared this
  information sheet to help you understand some of the possible consequences of filing a bankruptcy petition under Chapter 7 of the Bankruptcy
  Code. This information is intended to make you aware of.
  (1) the potential consequences of seeking a discharge in bankruptcy, including the effects on credit history;
  (2) the effect of receiving a discharge of debts;
  (3) the effect of reaffirming a debt; and
  (4) your ability to file a petition under a different chapter of the bankruptcy code.

  There are many other provisions of the Bankruptcy Code that may affect you situation. This information sheet contains only general principles of
  law and is not a substitute for legal advice. If you have questions or need further information as to how the bankruptcy laws apply to your specifc
  case, you should consult with your lawyer.



  WHAT IS A DISCHARGE?
  The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you listed on your bankruptcy schedules. A discharge is a
  court order that says you do not have to repay your debts, but there are a number of exceptions. Debts which may not be discharged in your
  chapter 7 case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and restitution; debts obtained
  throught fraud or deception; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may be denied entirely if
  you, for example, destroy or conceal property; destroy, conceal or falsify records; or make false oath. Creditors cannot ask you to pay any debts
  which have been discharged. You can only receive a chapter 7 discharge once every eight (8) years.

  WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?
  The fact that you filed bankruptcy can appear on your credit report for as long as 10 years. Thus, filing a bankruptcy petition may affect your ability
  to obtain credit in the future. Also, you may not be excused from repaying any debts that were not listed on your bankruptcy schedules or that you
  incurred after you filed bankruptcy.

  WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?
  After you file your petition, a creditor may ask you to reaffirm a certain debt or you may seek to do so on your own. Reaffirming a debt means that you
  sign and file with the court a legally enforceable document, which states that you promise to repay all or a portion of the debt that may otherwise have
  been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court within 60 days after the first meeting of
  creditors.

  Reaffirmation agreements are strictly voluntary -- they are not required by the Bankruptcy Code or other state or federal law. You can voluntarily repay
  any debt instead of signing a reaffirmation agreement, but there may be valid reasons for wanting to reaffirm a particular debt.

  Reaffirmation agreements must not impose an undue burden on you or your dependents and must be in your best interest. If you decide to sign a
  reaffirmation agreement, you may cancel it at anytime before the court issues your discharge order OR within sixty (60) days after the reaffirmation
  agreement was filed with the court, whichever is later. If you reaffirm a debt and fail to make payments required in the reaffirmation agreement, the
  creditor can take action against you to recover any property that was given as security for the loan and you may remain personally liable for any
  remaining debt.

  OTHER BANKRUPTCY OPTIONS
  You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs. Even if you have already filed for relief under chapter 7,
  you may be eligible to convert your case to a different chapter.

  Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is appointed to collect and sell, if economically feasible, all
  property you own that is not exempt from these actions.

  Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also available to individuals. Creditors vote on whether to accept
  or reject a plan, which also must be approved by the court. While the debtor normally remains in control of the assets, the court can order the
  appointment of a trustee to take possession and control of the business.

  Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers must propose a plan to repay their creditors over a
  three-to-five year period and it must be approved by the court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors'
  farming operations during the pendency of the plan.

  Finally, chapter 13 generally permits individuals to keep their property by repaying creditors out of their future income. Each chapter 13 debtor writes a
  plan which must be approved by the bankruptcy court. The debtor must pay the chapter 13 trustee the amounts set forth in their plan. Debtors receive
  a discharge after they complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with regular income whose debts do not
  exceed $1,000,000 (less than $307,675 in unsecured debts and less than $922,975 in secured debts).

  AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR EXPLANATION, INCLUDING
  HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.




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